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      fictitious Name BEVERLY ANN YOUNG
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      STATE OF MISSOURI
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      WELLS FARGO BANK, N.A. AND       I       EMOTIONAL DISTRESS
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      JAMES R. SHREWSBERRY; ANSELMO I (6) SLAI\IDER oF TITLE                                                                         .-
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                COMPLAINT OF IDENTITY THEFT AI\D WRONGRT]L X'ORECLOSURE H
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      COMES NOW, beverly-ann jones-young, Name Holder of the State of Missouri Registered

      Fictitious Name, BEVERLY ANN YOUNG, file number X001319462 and Minnesota Assumed

      Name, BEVERLY ANN YOUNG,                               file number   977095000021 (See Exhibit      A) filing      this

      Complaint by special appearance. As Plaintiff,                       I   am standing in my unlimited commercial

      liability     as a Secured Party Creditor complaining of the Defendants as named above, and each                    of

      them, as follows:

                                                               THE PARTIES
                    l.                Plaintiff is now and at all times, registered in good standing to do busines in the

      County of Coolq State of Illinois.

                    2.                Defendant, WELLS FARGO BANK, N.A. (herein referred to as "Wells Fargo"),
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as Servicer   / Trustee for the GINNIE MAE REMIC TRUST 2012-129 (herein referred to as "the

TRUST 2012-129"). Plaintiff is informed and believes, and thereon alleges that, Defendant

Wells Fargo, is a national banking association, doing business in the County of Cook, State of

Illinois and is the purported Master Servicer for the Securitized Trust and/or a purported

participant in the imperfect securitization of the Note and/or the MortgagelDeed of Trust as more

particularly described in this Complaint.

        3.        James R. Shrewsberry (hereinafter known as "Mr. Shrewsberry")      is the Chief

Financial Officer    of Wells Fargo Banlq N.A. and is responsible for Wells Fargo's      financial

management functions including treasury, controllers, financial reporting, tax management,

asset-liability management, corporate development and investor relations. Wells Fargo is

located at 420 Montgomery Street, San Francisco, CA 94104.

        4.        Defendant, ANSELMO LINDBERG            &   ASSOCIATES        LLC    (hereinafter

referreed to as "Anselmo"), Plaintiffis inforrned and believed, and thereon alleges that Anselmo

Lindberg & Associates, LLC is a foreclosure mill, conducting business in the State of Illinois at

l77l   W. Diehl Road, Suite 120, Naperville, IL 60563. Plaintiffis further informed and believes,

and thereon alleges, that Anselmo is the attorney colluding with Wells Fargo committing the

identity theft.

        5.        Defendant, GOVERNMENT NATIONAL MORTGAGE ASSOCIATION

(hereinafter known as "Ginnie Mae"), Plaintiff is informed and believes, and thereon alleges, that

Ginnie Mae is a corporation, doing business in the County of Cook, State of Illinois and is the

purported Investor/Guarantor    (&e Exhibit B) for the Ginnie Mae Securitized Trust and/or       a

purported participant    in the imperfect securitization of the Note and/or Mortgage as more
particularly described in this Complaint.



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         6.      Defendant, MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, [NC.,

(hereinafter known as "MERS"). Plaintiff is informed and believes, and thereon alleges, that

MERS is a corporation duly organized and existing under the laws of lllinois, whose last known

address     is 1818 Library Street, Suite 300, Reston, Virginia 20190;                        website:

http://www.mersinc.org. MERS is doing business in the County              of Cook, State of lllinois.
Plaintiff is further informed and believes, and thereon alleges, that Defendant MERS is the

purported Beneficiary under the Mortgage/Deed of Trust and/or is a purported participant in the

imperfect securitization of the Note and/or the Mortgage/Deed of Trust, as more particularly

described in this Complaint.

          7.     At all times relevant to this action, the Name Holder has lived at the Property

located at 1905 E. 172"d Street, South Holland, Illinois [604731(the "Property").

          8.     Plaintiff does not know the true names, capacities, or basis for liability of

Defendants sued herein as Does     I through   100, inclusive, as each fictitiously named Defendant is

in some manner liable to Plaintiff, or claims some right, title, or interest in the Property. Plaintiff

will   amend this Complaint to allege their true names and capacities when ascertained. PlaintifTis

informed and believe, and therefore allege, that at all relevant times mentioned in this Complaint,

each of the fictitiously named Defendants are responsible in some manner for the injuries and

damages to     Plaintiff so alleged and that such injuries and damages were proximately caused by

such Defendants, and each of them.

         9.      "All   Persons Unknown, Claiming any Legal        or Equitable Right, Title,   Estate,

Lien, or Interest in the Property described in the Complaint adverse to Plaintiffs' Title, or any

cloud on Plaintiffs' Title thereto" are sued herein pursuant to Illinois Code of Civil Procedure

Section 2-413.



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           10.      Plaintiff is informed and believes, and thereon alleges, that at all times herein

mentioned, each        of the Defendants were the agents, employees,      servants and/or the joint-

venturers of the remaining Defendants, and each of them, and in doing the things alleged herein

below, were acting within the course and scope of such agency, employment and/or joint

venture.

                                           JURISDICTION

           I   l.   The transactions and events which are the subject matter of this Complaint all

occurred within the County of COOK, State of ILLINOIS.

           12.      The Property is located within the County of COOK, State of ILLINOIS with an

address    of 1905 E.172"d, South Holland, Illinois   1604731.

                                           INTRODUCTION

           13.      This is an action brought by Plaintiff for declaratory judgment, injunctive and

equitable relief, and for compensatory, special, general and punitive damages for identity theft

and wrongful foreclosure. Plaintiff has a conflict with the law and when there is a conflict

between the rules at law and the rule of equity over the same matter, the rules of equity shall

apply and prevail. Plaintiff request that the rules of equity apply in this matter. Ex Aequo Et

Bono   -   what is just and fair or according to equity and good conscience? A decision-maker who

is authorized to decide ex aequo et bono is not bound by legal rules but may take account of

what is just and     fair. The exclusion of the "Emergency Banking Relief Act" is the inclusion of

my right under the "Judiciary Act of 1789".

                                      SPECIFIC ALLEGATIONS

           14-      Plaintiff re-alleges and incorporates by reference all preceding paragraphs   as

though fully set forth herein.



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          15.     This case arises out    of   Defendants' egregious, ongoing and          far       reaching

fraudulent schemes       for improper use of Plaintiffs identity, copynght and trademark
infringement, conversion of promissory note, fraud in the execution, usury, and breaches of

fiduciary obligations as Mortgagee or'oTrustee" on the Mortgage, "Mortgage Brokers," "Loan

Originators," "Loan Seller," o'Trustee     of Pooled Assets," "Trustee or officers of           Structured

Investment Vehicle", "Investment Banker," "Trustee              of   Special Purpose Vehicle/Issuer of

                of 'Asset-backed Certificates',"   o'Seller   of 'Asset-Backed'   Certificates (shares or
Certificates

bonds)," "Special Servicer" and Trustee, respectively, of Plaintiff s mortgage loan which was

pooled into the GINNIE MAE REMIC TRUST 2012-129 trust (hereinafter "the Ginnie Mae"

trust).

          16.     Plaintiff is the Nameholder of the Subject Property under the terms of a Warranty

Deed executed by Katherine Filipek and Daniel Cleve dated October           16,2012.   (Seg   Exhibit C).

          17.     On or about September 16, 2012, (hereinafter referred to as "Closing Date")

Defendants conspired and worked in collusion leading Plaintiff to believe she was receiving a

mortgage loan (secured by the Subject Properfy) in the amount of $87,718.00 when in fact the

PlaintifFs promissory note was deposited (credited) and used to pay the sellers. Wells Fargo

converted Plaintiffs' property title into shares transferred into constructive trust and pledged/sold

the promissory note to investors for the GINNIE MAE REMIC TRUST 2012-129.

          18.     A trust res has been created in Plaintiffs' name to finance the fictitious mortgage

debt in the name of the surety, BEVERLY ANN YOUNG. Plaintiffs' has registered with the

State     of   Missouri Registered Fictitious Name, BEVERLY ANN YOUNG,                        file   number

X001319462 and Minnesota Assumed Name, BEVERLY                           ANN YOUNG, file             number




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977095000021 in order to conduct business         "in good standing" here in Illinois and to   separate


the living woman from the fictitious/assumed name (surety).

           19.     Defendants have committed identity theft, intentional trespass, infringement,

unauthorized use of Plaintiffs' signature, unauthorized deivative conversion in name and form,

unauthorized conversion of signature/name to digital public/private PKI Key signatures and theft

thereof. Unauthorized pledge to IRS e-file filing system, theft of private properties, personal

and intellecfual properties, assets, proceeds, income concealed in IRS tax shelters, unauthorized

manipulation of status and elections and subscriptions, breach of goodwill, tnrst, contract to the

unlawful theft      of   estate and credit union engineered      by   Defendants   with kickbacks to
county/state actors and judges.       All of this fraud by setting up and using Plaintiffs ftIme   under

the intentionally concealed MERSATIB Agreement (hereinafter "MERS Agreement),(fu_Exhibit

D)   a   credit/security agreement.

           20.     Defendant are not using     a Deed of Trust or promissory note but rather the

authentication of the Plaintiffs' "handwritten signature" that has been unlawfully converted to a

digital signature, certificate and public/private keys.

           21.     Plaintiffdisputes the title and ownership of the real property in question, which is

the subject of this action, in that the originating mortgage lender, and others alleged to have

ownership of Plaintiff s mortgage note and./or Mortgage/Deed of Trust, have unlawfully sold,

assigned and/or transferred their ownership and security interest         in a Promissory Note      and

Mortgage/Deed of Trust related to the Property, and, thus, have unlawfully foreclosed upon the

property, and do not have lawful ownership or a security interest in the Property which is

described     in detail herein. For these reasons, the Court should Quiet Title the property in

Plaintiff s name.



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        22.          Plaintiff disputes title and ownership by Wells Fargo Bank, N.A. as Wells Fargo

lacks standing as Defendant is the Servicer whom Plaintiff mailed payments          to.   Furthermore, it

is well established state law that the assignment of a Mortgage does not automatically assign the

underlying promissory note and right to be paid and the security interest is incident of the debt.

Therefore, Wells Fargo cannot be a real party in interest.

        23.          Defendants pooled and securitized the note into the GINNIE MAE REMIC

TRUST 2012-129 (See Exhibit E) solely to provide a large supply of money to lenders for

originating loans, to provide investments to bond holders and create a situation whereby certain

tax laws known as the Real Estate Mortgage Investment Conduit Act ("REMIC") were observed

and the Issuing Entities and Lenders would be protected from "either" entity going into

bankruptcy.

        24.          Defendants pooled and converted the Note into the GINNIE             MAE REMIC

TRUST 2012-12. The Mortgage was never transferred and the Note at issue in this case was

pooled, transferred and securitized by Defendants, with other loans and mortgages with an

aggregate principal balance         of approximately $829,795,263 into the GINNIE MAE REMIC
TRUST 2012-129 Trust, which is a Common Law Trust formed pursuant to New York law. A

detailed description of the mortgage loans which form the Ginnie Mae Trust is included in Form

42485 ("the Prospectus"), (See Exhibit           F). Due to the large size of the Prospectus, I did not
attach all of   it   as an exhibit however   it can be viewed on-line at:

        http://www.ginniemae.gov/investors/disclosures_and_reports/Pages/remiclrrospectuses.
        aspx? YearDropDown: 20 I 2 &MonthDropDown:November ; OR
        http://www.einniemae.gov/doinglbusiness_withjinniemae/investor resources/Prospect
        uses/Prospectuseslib/20 I 2Nov20- I 29.pdf

        25.          MERS list Ginnie Mae as the investor on its website and Wells Fargo          as the

Servicer but has protected Wells Fargo by hiding              all of the investors by not recording   the


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splitting of the investment trust into 27 separate investment classes with the County Recorder.

(See   Exhibit G)

         26.    In order to streamline the securitization process, the investment banks created an

entity called Mortgage Electronic Registrations System (*MERS"), who is one                of   the

Defendants in this case. The investment banks, in addition to using MERS' electronic database

to track the buying, selling, and   assignments   of   securitized mortgage notes (bypassing the

county clerks' offices), transferred deeds of trust to MERS, thereby separating the mortgage note

from the Mortgage. MERS holds the Mortgage for whoever later claimed to be the "owner"          of

the Plaintiff s mortgage note for foreclosure purposes.

         27.    PlaintifPs loan was securitized, with the Note not being properly transferred to

Defendant, Wells Fargo, acting as the Trustee for the GINNIE MAE REMIC TRUST 2012-129.

Wells Fargo is not the true owner of the note and is committing fraud as the GINNIE MAE

REMIC is the true owner. Plaintiffalso alleges, that the GINNIE MAE REMIC had no officers

or directors and no continuing duties other than to hold assets and to issue the series of

certificates of investment in mortgage backed securities as described in the Prospectus. (See

Exhibit H)

         28.    No documents or records can be produced that demonstrate that prior to the

closing date for the TRUST, the MortgageA.{ote was duly assigned and indorsed or transferred

and delivered to the TRUST, including all intervening transfers/assignments via the trustee

Wells Fargo.

         29.    Plaintiffalleges that Defendants, and each of them, cannot show proper receipt,

possession, transfer, negotiations, assignment and ownership         of the borrower's    original

Promissory Note and Mortgage, resulting in imperfect security interests and claims. It has been



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settled beyond controversy that a national bank, under Federal Law being limited in its powers

and capacity, cannot lend its credit by guaranteeing the debts of another.           All    such contracts

entered into by its officers are ultra    vires.   (See Farmers and Miners Bank      v. Bluefield Nat 'l

Bank. 11 F 2d 83,271U.S. 669). Wells Fargo never loaned Plaintiffany money.

        30.    Plaintiff further alleges that Defendants, and each of them, cannot establish

possession and proper transfer and/or indorsement           of the   Promissory Note and/or proper

assignment of the Mortgage herein; therefore, none of the Defendants have perfected any claim

of title or security interest in the Property. Defendants, and each of them, do not have the ability

to establish that the mortgages that secure the indebtedness, or Note, were legally or properly

acquired.

        31.    Where the Mortgagee has "transferred" only the Mortgage, the transaction is a

nullity and the "assignee" having received no interest in the underlying debt or obligation, has a

worthless piece     of     paper   (4 Richard R. Powell), Powell on Real Property, S 37.27             [2)

(2000)..Since the loan was sold, pooled and converted into a security, such event would indicate

that the alleged holder can no longer claim that it is a real party of interest, as the original lender

has been paid in   full.

        32.    Defendant Wells Fargo, in preparation of litigation against Plaintifl drafted and

recorded the purported fraudulent assignment of mortgage and note        I   Yzyearlater.

        33.    Additionally, Plaintiffbrings causes of action against all Defendants for identity

theft and fraud by signing Plaintiffs name on the MERS Agreement and other documents

without the consent and/or knowledge of Plaintiff, fraud by acting as power-of attorney without

the consent and/or knowledge of Plaintift, intentional inlliction of emotional distress, rescission,

declaratory relief, violations of T.I.L.A., R.E.S.P.A., RICO and H.O.E.P.A, upon the facts and



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circumstances surounding Plaintiffs original loan transaction and subsequent securitization.

Defendants' violations of these laws are additional reasons this Court should quiet title in the

property and award damages, rescission, declaratory judgment, and injunctive relief as requested

below.

          34.     That in furtherance of said wrongful conduct, Defendants worked in collusion in

urging the court to rely on the false and misleading MERS Assignment                of   Mortgage   as


evidentiary support of Wells Fargo's right to collect on the alleged debt.

         35. All parties involved       have colluded with one another       to   commit fraud and

deception.

                             FIRST CAUSE OF ACTION FOR
                        IDENTITY THEFT. FRAUD AI\D COLLUSION

A. Identitv Theft and Fraud bv Wells Fareo. GININIE MAE and MERS
          36.     Plaintiff re-alleges and incorporates by reference all preceding paragraphs as

though fully set forth herein.

         37.      Fraud is amy false refeseffiation of mmerial facts mede with knowledge of falsity

and   wift itretr fid it {hall be *ledon by dofter ir eiledng imo comact, md ufoich is so acted

ryo& constitutes'ftilril,'md emifles pcty doeiverl to anoid offiact fr rscover.l^'rrages.        See

Barpsdafl Refinine C-orn- v.   Bimm Wood Oil Co. 92 F 26817.

         38.      Defendants have conspired and colluded     to commit a fraudulent      foreclosure,

identity theft and fraud in the concealment by setting up and signing a Security Agreement in

Plaintiffs' rulme without Plaintifls knowledge or consent. The MERS Security Agreement

(hereinafter "MERS Agreement") or the MERS United States Registered Trademark between

MERS and Wells Fargo (who own MERS stock) was set-up to steal and give ownership of

Plaintiff   s   identity, collateral, inventory, licenses, patents and trademarks, real       estate,


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receivables,   all   equipment, proceeds and any and        all other intangibles. This one-sided
Agreement allows the Defendants to sign any and all documents necessary to steal everything

owned by the Plaintiffand obligates the Plaintiffto be responsible for all present and future debt.

(See   Exhibit I - MERS Agreement) which is same as Exhibit D

         39.     Defendants have intentionally omitted the fact that U.S. Registered Trade/Service

Marks through TESS were set up in Plaintifls narne, which is a violation of the Lanham Act.

(See Exhibit J   )   These Patents and Trademarks are used to trade under Plaintiffs identity and

receive unjust enrichment in Plaintiffs name.

         40.     The MERS Agreement irrevocably authorized and empowers the Banks, its

offrcers, employees and authorized agents to endorese and sign the name of the Borrower on all

checks, drafts, money orders or other media of payment so delivered, and such endorsements or

assignments shall, for all purposed, be deemed to have been made "by the Plaintiff or so-called

borrower" prior to any endorsement or assignment thereof by the Bank. This is all fraud and

identity theft as it has not been authorized by the Plaintiff.

         41.     The MERS Agreement authorized the Banks to ask for, demand, collect, receive

and give acquittances and receipts for any and all amounts due and to become due under "any"

Collateral in the name of the Plaintiff (or so-called Borrower) or its own name or otherwise

which is identifu theft not authoized by the Plaintiff.

         42.     The MERS Security Agreement has          "NOT"   been duly executed and deliver by

the Plaintiff (or so-called borrower) and does not constitute the legal, valid and binding

obligation of the Plantiff to allow bankruptcy, insolvency, reorganization, moratorium or similar

laws relating to or affecting the enforceability by the Banks in commiting fraud and identity theft

unbeknowth to the Plaintiff.



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        43.     Pursuant   to Section 3.2. Title to Collateral from the MERS Agreement which

reads: Except for the security interests granted to the Bank pursuant to this Security Agreement,

the Borrower is the sole owner of each item of the Collateral, having good and marketable title

thereto, free and clear of any and all Liens, except Permitted Liens. The MERS Agreement is

admitting that the Bank does not own the subject property and the home was stolen via wrongful

foreclosure.

        44.     A Cash Collateral Account was illegally opened (without Plaintiffs knowledge or

consent)   in Plaintiffs   name which serves as a clearing account for the purpose      of placing

proceeds from the documents of title, securities, negotiable instruments or other cash equivalents

from Plaintiff s estate and/or cesti que trust to be moved into Defendants Accounts later.

        45.     Defendants are money laundering through unlawful conversion to offshore tax

havens. PlaintifPs name and identity stolen by use of the MES Agreements is what the theft is

based around, by theft through intentionally concealed means and methods. This is fraud as

opposed to incorporation by reference which presumes that Plaintiffgave    them. This is fraud by

theft and conversion, which is a valuing and revaluing of Plaintiffto pilfer PlaintifPs assets and

properties taken offshore to hide them, until such time they can be repatriated to the states

through a foundation by claiming forced abandonment.

        46.     MERS (acting as beneficiary) assigned the Mortgage/Deed of Trust to Wells

Fargo. The Assignment by MERS was improper because MERS never had a beneficial interest

in the Subject Property and was merely a "nominee" under the Deed of Trust. MERS              also

breached their implied covenant     of good faith and fair dealing with Plaintiff when       MERS

allowed their alleged agent to execute the Assignment in order to appoint a new Trustee to begin

foreclosure on the subject property. Therefore, the Assignment is invalid and void.



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          47. A "True Sale" (which was never done) of the loan would be a circumstance
whereby one party owned the Note and then sold it to another party. An offer would be made,

accepted and compensation given to the "seller" in retum for the             Note. The Notes would be

transferred, and the Deeds of Trust assigned to the buyers of the Note, with an Assignment or

Transfer made every step of the way, and, furthermore, each Note would be indorsed to the next

party by the previous assignee or transferee ofrecord. These transactions have been hidden by

MERS working in collusion with Defendants.

          48.   MERS is a criminal entity set-up to hide the securitization process and to track the

buying, selling, and assignments of securitized mortgage notes (bypassing the county clerks'

offices). Banks transfer deeds of trust to MERS, thereby separating the mortgage note from the

Mortgage/Deed of Trust. MERS assigns the Mortgage/Deed of Trust for whoever later claims to

be the "owner" for foreclosure of the homeowners' mortgage note all the time knowing who the

true owner of record is, thereby committing fraud.

          49.   MERS is a complete and total fraud. It has no employees, but claim thousands of

officers who have not been hired or appointed by MERS; rather they are assigned signing

responsibilities by lenders, servicers, or foreclosure firms. No actual offrcer of MERS has ever

signed any documents in connection with the assignment or transfer of any debt, note, deed              of
trust or mortgage- They are not trained by MERS or even given access to MERS computers to

veriff the affidavits they sign are accurate. This is complete     and total fraud.

          50.   Plaintiff was never informed nor was        it   disclosed   to Plaintiff that a Security
Agreement(lvtER Agreement) giving ownership            to all of PlaintifPs personal and intellectual

ownship was set-up in Plaintiffname. This is fraud and identity theft. Pursuant to 15 U.S-         C&
$ 7001,   Plafuilitr"NEvER- cmsemed to use of Plaimiffs signdre in electronic or           ny   fomr-



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         51.   Wells Fqgo, MERS md Gimic iltrae havc all coryircd md           collud       to rweived

unjust enrichments by setting rry, signing (in Plafuiitrnamc) md using tre MER.S ngeemem

widpU Plaidiffs cometr u koowledge. The MERS Agreement is prima facia evidence of the

identity theft and fraud committed by the above-named Defendants.

B. Fraud by James Shrewsberrv and Wells Fargo

         52.   Plaintiff re-alleges and incorporates by reference all preceding paragraphs          as


though fully set forth herein.

         53.   Chisf Ffumcial Officer Jmes Shovsberry md Wells          Fqo    are guilty   of idrmrry

treft ard fraud by use of trc N{ERS Security Agrmetr to acquire rdue               emicM         frrom

Plarrfritr.

         54.   Defendants mailed Mr. Shrewsberry an instrument to pay the         loan. Defendants

mailed Plaintiff a letter veriffing the debt had been discharged but later decided to steal the

instrument and monetarily enrich themselves. @_Exhibit K)

         55.   Defendants failed to properly credit payments made by Plaintiffand foreclosed on

the Subject Property based on Plaintiffs' alleged non-payment which Defendant knew to be false.

         56.   Defendants have concealed material facts known to them (but not to Plaintiff)

regarding trusts, securities, payments, notices, assignments, transfers, late fees and charges with

the intent to defraud Plaintiff. Defendants know the note was securitized and pooled into the

GINNIE MAE REMIC TRUST 2OI2-129.

         57.   Defendants participation    in the securitization   scheme described herein have

devised business plans to reap millions of dollars in profits at the expense of Plaintiff and other

investors in the Ginnie Mae trust    fund. This    fraudulent scheme, was    in fact a sham to use

Plaintiff s interest in the real property to collect interest in excess of the legal rate. Plaintiffs



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participation in the mortgage contract was procured by overt and covert misrepresentations and

nondisclosures due to the fraudulent use of the MERS Agreement.

         58.   Defendants agreed between and among themselves to engage in the conspiracy to

defraud for the coillmon purpose of accruing economic gains for themselves at the expense of

and detriment to the     Plaintiff. The actions of the Defendants were committed intentionally,

willfully, wantonly,   and with reckless disregard for the rights of the Plaintiff.

         59.   Defendants enforced loan documents for which they had already been paid in full

plus illegal fees for participating in an illegal scheme. These Defendants seek to add insult to

injury by demanding ownership of the property in addition to the receip of payment in full

although no lawful delinquency or default has occurred.

         60.   Defendants intentionally obfuscated the illegal allocation of payments, the failure

to disclose payments, and the effect on the alleged obligation of the Plaintiff, to wit:        despite

numerous insurance products, credit default swaps, cross collateralization, over collateralization

and polling at multiple levels, money received by some or all of these Defendants under the

pretense   of it being a "Mortgage Payment" was in fact           retained, reserved, applied   to   non-

performing loans to make them appear as though they were performing loans, or paid as fees to

the enterprise Defendants described in this complaint.

         61.   Defendants concealed the fact that the Loans were securitized as well as the terms

of the   Securitization Agreements, including, inter alia:        (1) Financial lncentives paid;      (2)

existence of Credit Enhancement Agreements, and (3) existence of Acquisition Provisions. By

concealing the securitization, Defendant concealed the fact that Borrower's loan changed in

character inasmuch as no single party would hold the Note but rather the Notes would be

included in a pool with other notes, split into tranches, and multiple investors would effectively



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buy shares of the income stream from the loans. Changing the character of the loan in this way

had a materially negative effect on Plaintiff that was known by Defendant but not disclosed.

Defendant induce Plaintiff based on these misrepresentations and non-disclosures of the MERS

Agreement.

        62.    Defendants' failure   to   disclose the material terms   of the transaction   induced

Plaintiff to enter into the loans and accept the Services as alleged herein. Defendants were aware

of the misrepresentations and profited from them. Defendant knew or should have known that

had the truth been disclosed, Plaintiff would not have entered into the Loans giving up all

property and rights to the unknown MERS Agreement.

         63.   As a direct and proximate result of the misrepresentations and concealment and

since these illegal profits were never disclosed, Plaintiff is entitled to an accounting and a pro

rata share of the profis obtained by the illegal, improper and undisclosed use of Plaintiffs' name,

credit rating and identity. Plaintiff has been damaged in an amount to be proven at trial,

including but not limited to Plaintiff loss of "all" rights, costs of Loan, damage to Plaintiffs

financial security, emotional distress, and other fees incurred by Defendant's use of the MERS

Agreement.

         64.   Defendants are guilty      of identity theft, malice, fraud, etc. and/or oppression.
Defendants' actions were malicious and done      willfully in conscious disregard of the rights and

safety of Plaintiff in that the actions were calculated to steal from and injure Plaintiff. Based on

the above, Wells Fargo lacked standing to bring an independent foreclosure action against the

Plaintiff.




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C. Identitv Theft and Fraud bv Anselmo Lindbers &           Associates

          65.       Plaintiff re-alleges and incorporates by reference all preceding paragraphs as

though fully set forth herein.

          66.       Anselmo Lindberg & Associates LLC (hereinafter refered to as "Anselmo") are a

foreclosure     mill debt collector who litigated against Plaintiffs registered business    entity

registered with the State of Missouri, registration number X001319462 and Minnesota Assumed

Name, BEVERLY ANN YOUNG, file number 977095000021 without standing to do so.

          67.       Defendants did not have a valid bilateral contract with the BEVERLY ANN

YOUNG registered business entity and therefore had no standing or jurisdiction to bring this

case to Court and foreclose against the subject property.

          68.       Defendants have and   still are committing intentional trespass, infringement,
identity theft and unauthorized use of signature which equates to fraud. Defendant, Anselmo

committed fraud when they filed a stunmons and complaint for Wells Fargo against Plaintiff for

wrongful foreclosure. Anselmo was retained by Wells Fargo to protect the interest of the Ginnie

Mae investors. Anselmo filed the Complaint against Plaintiff knowing that Wells Fargo is not

the holder-in-due course as the Note has been converted and securitized into the GINNIE MAE

REMIC TRUST 2012-129 and a fraudulent Assignment issued to Wells Fargo to foreclose on

the mortgage.

          69.       Anselmo was mailed a Freedom of Information Request for Interrogatories and

Freedom        of   Information Interrogatories Deposition and Discovery       of   Alleged Debt

Collector/Creditors Disclosure Statement on October 12,2016 requesting proof of the debt. (&e

Exhibit   L)   Anselmo never responded to the request.




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          70.    Federal Rule   of Civil   Procedure 17 (a)   (l)   requires that an action must be

prosecuted in the name of the real party in interest which is the GINNIE MAE REMIC TRUST

2012-129 which is not listed as the     Plaintiff. The Defendant is committing fraud     as he knows

that Wells Fargo is the Servicer and not the true or real party in interest or the holders-in-due

course. (See Jacobson,402 B.R. 359,365-66 Oankr. W.D. Wash.2009)

          71.    Defendants have committed fraud         by unauthorized conversion of Plaintiffs
signature and name to digital public/private PKI Key signatures and theft thereof.

          72.    Defendants are committing theft of private properties, personal and intellectual

properties, income concealed     in IRS Tax     Shelters and unauthorized manipulation      of   status,

elections and subscriptions.

          73.    Contracts   to unlawful theft of   estate (trusts) engineered    by Anselmo with
kickbacks to county/state actors and judges (all) springing from the intentionally concealed

MERSA{B Agreement.

          74.    Anselmo Lindberg   &   Associates LLC worked in collusion with and represented

Wells Fargo in their foreclosure fraud. Anselmo is well aware of the fraud and identity theft

committed by Wells Fargo and is hiding behind a confidentially clause for unjust enrichment and

payment by Wells Fargo. Qui facit per alitmr facit per se, he who does anythng by another, does

it himself. Therefore Anselmo is guilty of all charges relating to Wells Fargo.

          75.   Anselmo Lindberg     &     Associates   LLC who bear the tith of "Esquire"          ane

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marrrer   wift rqect to Plaitrifr, Frrther, atl actionq plcadiryst filinS, agum€trs    and orders   ae

vondfor fraudhodrryonsaid        mdfudocod                 A public official is a fiduciary toward the




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public and     if   he deliberately conceals material information from them, he is guilty of fraud.

McNally v United States 483 U.S. 350 (1987).

          76.       The tifle   of   Esquire is a title   of nobility, which is stricdy forbidd€n by 6e
Constitutim fc the rmitod Stat€s of America m^king artyore $fro takes nlc,h a title aforeigner

witr   rcsp€ct to    tre Defeodd, tre Stae end flris state. As a fueign          aryrem,"   allitffidl   offioers

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nesistrdim Acr" 22         LJ,S.C. $611, et    seq                  herEin by   ftis reference). Failure to
regisficr rendcrs     my rctim talril wifr        rcspoct    to Defeodatr void for lack of c4rrirty          d,
                     As $ch,    ny rliwtak€n b rlris poitr must bc revemod         and this case dismissed-

ke ltffitil    h{otioe of   l@tty,         Ah$e and Void Judgmem tra       unas   iporcd in tre ftadulent

forwloeure case.

                                     SECOD CAUSE OF ACTION FOR
                                       WRONGT'UL FORECLOSURE
          77.       Plaintiff re-alleges and incorporates by reference all preceding paragraphs as

though fully set forth herein.

          78.       An actual controversy has arisen and now exists between Plaintiffand Defendants

specified herein above, regarding their respective rights and duties, in that Plaintiffcontends that

Wells Fargo (or any other Defendant), does not have the right to foreclose on the Property

because Wells Fargo        (or any other Defendant), has failed to perfect any security interest in the

Property, and cannot prove to the court they have a valid interest as a real party in interest. Thus,

the purported power to foreclose         judicially, by the above specified Defendants, and each of them,

was a fraudulent and wrongful foreclosure.

          79.       Plaintiff is informed and believes, and thereon alleges, that in order to conduct           a

foreclosure action, a person or entity must have standing. Wells Fargo did not have standing.


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          80-    Privity of contract is the traditional notion that there are two parties to a contract

(when it fact there were more) and that only a party to the contract can enforce or renegotiate that

contract. Plaintiffhas no privity relationship withWells Fargo or Ginnie Mae. Wells Fargo has

no cognizable connection to the note and therefore no privity relationship with Plaintiff. Wells

Fargo has conducted a fraudulent foreclosure by creating a "record title" right to foreclose and,

will   hand the bag of stolen loot   (Plaintiffs property) to Ginnie Mae.

          81.    Wells Fargo gave no valuable consideration to Plaintiffrelative to the mortgage

and received no consideration from Plaintiff relative to the mortgage. Valuable consideration

mean, and necessarily requires under every for and kind of purchase, something of acfual value,

capable, in estimation of the law, party with money. It is the passing of a consideration and not

the form of the contract that in Equity passes title; and whatever th eform of the transaction, if no

consideration passes, in equity no title passes. Plaintiffs promissory note paid the Sellers of the

home which is why she was given a warranty deed from the sellers..

          82.    The Note was never sold but pledged and the alleged loan which is "held for sale"

meaning the Plaintiffs' collateral was put up as capital and sold in the market, on the DTC

(Depository Trust Corporation) as ADR's or depository receipts at l05o/o        full amortized value.
This means that Wells Fargo, the Servicer did not have standing for foreclosure. Any debt the

Plaintiffwould have owed was thus eliminated, with credits due to the Plaintiff.

         83.     Plaintiff "never" purchased a mortgage but was defrauded into signing               a

copyright derivative and Defendant            is the holder of that copyright derivative.         The

Fannie/Freddie Standard Uniform lnstrument is a copyrighted work             of a computer    program

which becomes a derivative upon the borrowers signing of the undisclosed                   agreement.

Defendants are unjustly enriching themselves many times over, selling an alleged mortgage loan



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they do not even own by receiving future fees and compensation realized upon default with the

actual fust sale, which the Defendants collects on with the liquidation of the collateral. This is

"ALL" fraud.

       84.     Pursuant to Black's   I't volunteer in conveyance is one who holds a title under a

voluntary conveyance, i.e., one made without consideration, good or vluable, to support it.

Equity will not aid a volunteer. The court, upon its general principles, cannot complete what it

finds imperfect and the Court of Equity will not make you a cestui que trust. Wells Fargo have

no consideration and therefore is acting fraudulently to become a Trust Res. Again commtting

fraud, concealment, conveyance and identity theft. Plaintiff has not knowingly imply to a trust

or consent to one.

       85. Plaintiff was made reliant on false                representations   that the    Ginnie

Mae/FannielFreddie Standard Uniform Instrument was 'personal property' thereby a negotiable

instrument. It is not a negotial instrument, it is a copyright DERIVATIVE which cannot be both

a security and a negotiable instrument.   Plaintiffwas lured into executing what Plaintiff believed

was a mortgage loan to real property (a negotiable instrument) but in fact was a collateralized

copyright unknowingly giving uninformed consent to an installment lease to a future purchase.

Plaintiff unknowingly signed a pre-securitized investment contract to which Plaintiff is the

uninformed third-party beneficiary, creditor and entitlement holder. Defendants knew having

control of the copyright derivative gave Defendants control of all of Plaintiffs real, personal and

intellectual property which is more undisclosed fraud.

       86.     Derivatives are credit default swaps, Collateralized Bond Obligations (CBO),

CMO'S, CDO'S, CDO SQ., RMBS, MBS, ABS, and whatever other financially engineered




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(patents and trademarks) Defendants can come up             with. All stolen by use of the MERS
Agreement.

         87. Plaintiffs     ntmtgagelffis rryas converted           to   DEFOSI[S maLing Plainriff        a

DEPOSITOR md nof, a LIORTGAGOR This was dore witrorr tre                      msetr of the Plaitriffand
i$ frard-

         88.    Plaintiff was defrauded into a transaction Plaintiff didn't know existed and not

given any documentation to show for        it.   MERS was essential         in filling that void with   the

creation of fabricated written instruments that appear to be facially valid.         All claims based on

the validity of these MERS documents are fraud and false and             if the documents   and transaction

tied to false claims of securitization was based on false and fraudulent documents, they are null

and   void. Fraud vitiates every transaction   and all contracts.

         89.     Soon after the origination of the fake loan, Plaintiff is informed and believes that

Wells Fargo transferred all beneficial interest to private investors of the GINNIE MAE TRUST

REMrC 20r2-r29.

         90.    Plaintiff is informed and believes, and thereon alleges, that the Ginnie MaeTrust

had no officers or directors and no continuing duties other than to hold assets and to issue the

series of certificates of investment in mortgage backed securities as described in the Prospectus.

         91.    Plaintiff is informed and believes and there upon allege that there is no one who

has standing to foreclose as the chain of title was broken when converted to the GINNIE MAE

REMIC TRUST 2012-129 and the Assignment made out to Wells Fargo to foreclose                             is

fraudulent. (See Exhibit M)

         92.    A year and a half after the Closing, Defendant drafted and caused to be executed

by Stephanie Therese Tautges, a "robo-signer" for MERS, a fraudulent Assignment of Mortgage



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and   Note. The assignments did not take place at the time of economic transfer (i.e. sale of the

note for equivalent value) to avoid separation of the note from the security instrument and the

document appears     to be effectively void and otherwise       useless   for the purpose of pursuing

foreclosure. Stephanie Therese Tautges signed the Assignment as Assistant Secretary (an

untruth) for MERS without disclosure of employment. Documents signed by Stephanie Therese

Tautges attempted to assign the Mortgage to client Wells Fargo without an Assignor. This

position of unilateral transfer is further strengthened by the fact that there is no evidence of

verified proof of funds; a note endorsement; a bill of sale; a declaration of value; or transfer taxes

as having been paid to Cook County Clerk "For Good and Valuable Consideration". The

fraudulent Assignment of Mortgage was recorded with the Cook County Recorder of Deeds on

February 28,2014 as Document No. 4908027        .   Copies of Assignment showing different position

are attached.   @.Exhibit N)
         93.    This loan is   mt id€dified in any public reporting tust.        "Guarantor   -   Ginnie

Mae" is stated on the Mortgage Electronic Registration Systems, Inc. web site as 'olnvestor",

which indicates a current ownership interest of the FHA loan. A       $ali$ing    trust formod shortly

after tls, exeqtrion of the   lmr m   Ocfiober 16,2012 is tre GIND.{IE MAE RENIIC TRUST           z0l2-

129 wifri a closing date of November 30,2012- The rmdenvriters            ae Baclays Cqital tnc. md

I-oop Capital Matefs    LI.(, fu   Spm      is Gimie illae md Trust€e is Wells Fargo       Bm! NA
Tlffi   is no knorm connection betrvm the origiml        l*r,    Am€ricm Fidelity and Wells Frgo

Bfl*, NA, to whom the fradulent                         of Mctgage rnas assignod by m Assigne
einployce witrorr disclosre of tnre role.

         94- In furtherance of the fraud committed by Wells Fmgo in the drafting and
recording of the fraudulent Assignment of the Mortgage and Note, Defendant's MERS, Wells



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Fargo and Anselmo Lindberg        &   Associates LLC,        all individually named herein,   caused a

wrongful foreclosure action to be filed and litigated against Plaintiff. Said mortgage foreclosure

action was initiated by Anselmo Lindberg & Associates LLC on behalf of Wells Fargo and not

the GINNIE MAE REMIC TRUST 2012-129 in the Circuit Court of Cook County Illinois under

Case   No. 15 CH 009226 (hereinafter "Foreclosure Action").

         95.    Plaintiff is further informed and believes and thereon alleges, that as a result of

the misleading language intentionally placed in the Assignment of Mortgage and Note,

Defendant's Wells Fargo and Anselmo Lindberg            & Associates LLC, attorneys representing
Wells Fargo, filed and fraudulently executed documents trnder and made certain oral

representations to the Court, in furtherance of the fraud to gain possession and title to the subject

properfy herein.

         96.    The Mortgage Deed in itself does not attach to, nor does it create an enforceable

right for Wells Fargo (and their Attorney) to enforce an action (foreclosure) against Plaintiff.

         97.    Defendants hid   fte l%at SBC filing$,                fte transactim- In order to be

controlled by trose SEC filingq the trrc original   lon      Note and Mnlgage had to be prrovid sn

the Documenf Cusodim certified to have       bcn in pods€ssim of thein txr or abod November 30,

2Ol2- Bcause it was rct" the 6laim of      or+,nership b!,   tre Tnrst cannot be substamided and tre

loan servicing righfs   mt   esablishod   d lavt tV agreemenf        This is why the GINNIE MAE

REMIC TRUST 2012-129 is not listed in the IRS Publication 938 as a newly created REMIC in

either the20l2 or 2013 Publication 938.

         98.    [n connection with the application for and consummation of the mortgage loan the

subject of this action, Defendants agreed, between and among themselves, to engage in actions

and a course of conduct designed to further an illegal act or accomplish a legal act by unlawful



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means, and to commit one or more overt acts in furtherance of the conspiracy to defraud the

Plaintiff.

                                 THIRD CAUSE OF ACTION FOR
                                        NEGLIGENCE

        99.     Plaintiff re-alleges and incorporatess by reference all preceding paragraphs       as

though fully set forth herein.

         100. At all times relevant herein,      Wells Fargo, acting as Plaintiffs' lender and loan

servicer, had a duty to exercise reasonable care and skill to maintain proper and accurate loan

records and to discharge and      fulfil the other incidents attendant to the maintenance, accounting

and servicing of loan records, including, but not limited, accurate crediting of payment made by

Plaintiff.

         101.   In taking the action alledged above, and in failing to take the actions as alleged

above, Wells Fargo breached their duty of care and skill to Plaintiffin the servicing of Plaintiffs;

loan by, among other things, failing to property and accurately credit payments made by

Plaintiffs toward the loan, preparing and filing false documents, and foreclosing on the subject

property without having the lawful authority and/or lawful documentation to do so.

         102. As a direct    and promimate result of the negligence and carelessness        of Wells
Fargo as set forth above, Plaintiff suffered general and special damages in an amount to be

determined at trial.

                                 FOTJRTH CAUSE OF ACTION FOR
                                     T'NJUST ENRICHMENT

         103. Plaintiff re-alleges and incorporatess by reference all preceding        paragraphs as

though fully set forth herein.

        104. By their wrongful acts and omissions,          the Foreclosing Defendants have been

unjustly enriched at the expense of Plaintiffs, and thus Plaintiffs have been unjustly deprived.

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        105. Defendants       concealed the fact that the MERS Security Agreement was set-up in

Plaintiffs name to received unjust enrichment from Plaintiff.

        106. Defendants have also been additionally enriched through the receipt of
PAYMENT from third parties including but not limited to investors, insurers, other borrowers,

the United States Department of the Treasury, the United States Federal Reserve, and other

unknow entities.

        107. By reason of the foregoing, Plaintiffs seek restitution from the Foreclosing
Defendants, and an order of this Court disgorging all profits, benefits, and other compensation

obtained by the Foreclosing Defendants from their wrongful conduct.

                           FIFTH CAUSE OF ACTION FOR
                  INTENTIONAL INF'LICTION OF EMOTIONAL DISTRESS

        108. Plaintiff re-alleges and incorporatess by reference all preceding          paragraphs as

though fi.rlly set forth herein.

        109.      The actions of Defendants, as s€t forth herein, have resulted in the Plaintiffbeing

threatened with the loss of the Property.

        110.      This outcome has been created without any right or privilege on the part of the

Defendants, and, as such, their actions constifute outrageous or reckless conduct on the part       of
Defendants.

        1l   l.   Defendant's fraud, identity theft, etc. was undertaken with the specific intent   of
inflicting emotional distress on the Plaintiff, such that Plaintiff would be so emotionally

distressed and debilitated that he/she would be unable to exercise legal rights in the Property; the

right to title of the Property, the right to cure the alleged default, right to verify the alleged debt

that Defendants are attempting to collect, and right to clear title to the Property such that said

title will regain its marketability and value.


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        ll2. As a proximate          cause   of   Defendants' conduct, Plaintiff has suffered severe

emotional distress, experienced many sleepless nights due to anxiety, severe depression, lack of

appetite, and loss of productivity as Plaintiff has been unable to find employment due to stress

caused by Defendant.

        113.    The conduct of Defendants, and each of them, as herein described, was so vile,

base, contemptible, miserable, wretched, and loathsome that        it would be looked down upon and

despised by ordinary people. Plaintiff is therefore entitled to punitive damages       in an amount

appropriate to punish Defendants and to deter other from engaging in similar conduct.

                                  SIXTH CAUSE OF ACTION FOR
                                       SLAI\IDER OF TITLE

        lI4.   Plaintiff re-alleges and incorporatess by reference all preceding paragraphs       as

though fully set forth herein.

        I15.   Defendants, and each of them, disparaged Plaintiffs exclusive valid title by and

through the preparing, posting, publishing, and recording of the documents previously described

herein, including, but not limited to, the Notice of Default, Notice of Trustee's Sale, Trustee's

Deed, and the documents evidencing the commencement of judicial foreclosure by a party who

does not possess that   right.   These documents were naturally and commonly to be interpreted as

denying, disparaging, and casting doubt upon Plaintiffs legal title to the Property. By posting,

publishing, and recording said documents, Defendants'disparagement of Plaintiffs legal title was

made pubic to the world at large.

        116. As a direct and proximate            result of Defendants' conduct in publishing these

documents, Plaintiffs title to the Property has been disparaged and slandered, and there is a

cloud on Plaintiffs title, and Plaintiff has suffered, and continues to suffer, damages in an

amount to be proved at trial.


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        ll7.    At the time that the false and disparaging documents were created and published

by the Defendants, Defendants knew the documents were false and created and published them

with the malicious intent to injure Plaintiff and deprive Plaintiff of exclusive right, title,   and

interest in the Property, and to obtain the Property for their own use by unlawful means.

        I18.    The conduct of the Defendants in publishing the documents described above was

fraudulent, oppressive, and malicious. Therefore, Plaintiff is entitled to an award of punitive

damages in an amount suffrcient to punish Defendants for their malicious conduct and deter such

misconduct in the future.

                              SEVENTH CAUSE OF ACTION FOR
                                             OIIIET TITLE
        119. Plaintiff re-alleges and incorporatess by reference all preceding      paragraphs as

though fully set forth herein.

        120. Plaintiffs     is the equitable owner of the Subject Property which has the following

legal description:

          LOT 50 IN HUGUELET'S 7M ADDITION TO SOUTH HOLLAND BEING A
          SUBDIVISION OF A PART OF THE NORTH % OF THE NORTHWEST % OF
          SECTION 25, LYING EAST OF TTIE THREAD LINE OF THORN CREEIq ALL IN
          TOWNSHIP 36 NORTH, RANGE 14, EAST OF TT{E THIRD PRINCIPAL
          MERIDIAN, IN COOK COUNTY,ILLINOIS
          COMMONLY KNOWIY AS: 1905 E.l72"d Sheet, South Holland Illinois 60473
          Tax Parcel Number:      29   -25-l I 0-009-0000

        l2l.    Plaintiffs title to the abovedescribed property is derived from the Warranty Deed

from Kathrine Filipek and Daniel Cleve and recorded under Document           #   1233816027. (899

Exhibit B)

        122.    On or about October 16,2012, (hereinafter referred to as "Closing Date") Plaintiff

entered into a consumer credit transaction with American Fidelity by obtaining what she thought

was a mortgage loan secured by PlaintifPs principal residence (Subject Property) in favor         of

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American Fidelity, but with American Fidelity naming MERS as the mortgagee under the

Security Instrument as it's "nominee."

           123.   Plaintiffs seek to quiet title against the claims of Defendant, Wells Fargo; all

persons unknown, claiming any legal           or equtable right, title, estate, lien, or interest in   the

property described in the Complaint adverse to PlaintifPs Title, or any cloud on Plaintiffs title

thereto.

           124. Defendant    Wells Fargo, named herein, claims an interest in the Subject Property

adverse to    Plaintiff. Defendant asserts it is the owner and has a fraudulent Assignment to the

Subject Property. Due         to the fradulent Assignment, Wells Fargo is without any              right

whatsoever, and Defendant has no right estate, title, lien or interest in or to the property, or any

part of the property.

           125. The claim of Defendant       Wells Fargo, herein named, claim some estate, right, title,

and lien or interest in or to the property adverse to plaintifFs title, and these claims constitute a

cloud on plaintiffs title to the property.

           126. Wells Fargo and American Fidelity have received payment for the property
numerous times and should reconvey the property. Wells Fargo as Trustee of the GINNIE MAE

REMIC TRUST 2012-129 should surrender the Security Instrument and all notes evidencing

debt secured by the Security Instrument to reconvey the Property without warranty to the

Plaintiff who is legally entitled to it.

           127.   Plaintiff requests the decree permanently enjoin defendants, and each of them,

and all persons claiming under them, from asserting any adverse claim to Plaintiffs title to the

property.




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        128. Plaintiffrequest           the court award Paintiffcosts of this action, and such other relief

as the court may deem proper.

                                     EIGHTH CAUSE OF ACTION FOR
                                                RICO

        129. Plaintiff re-alleges and incorporatess by reference all preceding               paragraphs as

though fully set forth herein.

        130.     Defendants shared in the illegal proceeds of the transaction; conspired with each

other to defiaud the Plaintiff out of the proceeds of the loan; acted in concert to wrongfully

deprive the Plaintiff of her residence; acted in concert and conspiracy to essentially steal the

Plaintiff home and/or convert the Plaintiff home without providing Plaintiff reasonably
equivalent value       in   exchange; and conducted an illegal enterprise within the meaning         of the

RICO statute.

                           ITINTH CAUSE OX'ACTION FOR
                VIOLATION OF TILA AI\ID HOEPA. 15 U.S.C. Q 160r. ET. SEO.

        131. Plaintiff re-alleges and incorporates by reference all preceding               paragraphs as

though fully set forth herein.

        132. Plaintiff         alleges that the loan that is the subject matter of this complaint was and is

a consumer-credit transaction         within the meaning of TILA and HOEPA.

        133. The only party on record as mortgagee               or beneficiary under a deed of trust   has

been paid in    full   as   to principal, paid in full as to disclosed fees, and has received undisclosed

fees as well because they were standing in for the real lender whose identity and existence was

withheld from the      borrower- all TILA violations.
        134. Any and all statute[s] of limitations            relating to disclosures and notices required

pursuant   to   15 U.S.C.       $   1601, et.seq. were tolled due   to Defendants' failure to effectively
provide the required disclosures and notices.

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        135. An actual controversy      now exists between Plaintiff, who contends she has the

right to rescind the loan on the Subject Property alleged in this Complaint, and based on

information and belief, Defendants deny that right.

        136. As a direct and proximate     result of Defendants' violations Plaintiff has incurred

and continue to incur damages in an amount according to proof but not yet ascertained including

without limitation, statutory damages and all amounts paid or to be paid in connection with the

transaction.

        137.    Defendants were unjustly enriched at the expense         of Plaintiff who is   therefore

entitled to equitable restitution and disgorgement of profits obtained by Defendants.

        138.    Defendants' actions   in this matter have      been willful, knowing, malicious,

fraudulent and oppressive, entitling Plaintiff to punitive damages in an amount appropriate to

punish Defendants and to deter others from engaging in the same behavior.

        139. On information and belief and given the volume of residential loan transactions
solicited and processed by the Defendants, the Defendants have engaged in two or more

instances   of racketeering activity involving different victims but utilizing the same        method,

means, mode, operation, and enterprise with the same intended result.

        140-    Unreported repurchases   of certificates or   classes   of certificates would and did
result in a profit to the REMIC that went unreported, and which was not credited to Borrowers

where the repurchase was, as was usually the case, the far less than the original investment.

        l4l.    Defendants shared in the illegal proceeds of the transaction; conspired with each

other to defraud the Plaintiff out of the proceeds of the loan; acted in concert to wrongfully

deprive the Plaintiff of the property; acted   in concert and conspiracy to essentially steal the




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property and/or convert the property without providing Plaintiff reasonably equivalent value in

exchange; and conducted an illegal enterprise within the meaning of the RICO statute.

                            TENTH CAUSE OF ACTION FOR
                       VIOLATION OF RESPA. 1 U.S.C. 8 260I ET. SEO.
           142. Plaintiff re-alleges   and incorporates by reference all preceding paragraphs        as

though fully set forth herein.

           143-   The loan to Plaintiff was a federally regulated mortgage loan as defined in

RESPA.

           144. Housing and Urban         Development's (HUD's) 1999 Statement              of   Policy

established a two-part test for determining the legality of lender payments to mortgage brokers

for table funded transactions and intermediary transactions under RESPA:

        a)        Whether goods or facilities were actually furnished or services were actually

                  performed for the compensation paid and;

        b)        Whether the payments are reasonably related to the value of the goods or facilities

                  that were actually fumished or services that were actually performed.

           145. In applying this test HUD believes that total compensation      should be scrutinized

to assure that it is reasonably related to the goods, facilities, or services furnished or performed to

determine whether      it is legal under RESPA.     The interest and income that Defendants have

gained is disproportionate to the situation Plaintifffind themselves in due directly to Defendant's

failure to disclose that they will gain a financial benefit while Plaintiff suffer financially as a

result of the loan product sold to Plaintiff.

           146. Defendants violated    RESPA because the payments between the Defendants were

misleading and designed to create a windfall. T hese actions were deceptive, fraudulent and self-

serving.


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        147.   As a proximate result of Defendants' actions, Plaintiff has been damages in an

arnount not yet ascertained, to be proven at trial.

                            ELEVENTH CAUSE OF ACTION FOR:
                                               RESCISSION

        148. Plaintiff re-alleges        and incorporates by reference all preceding paragraphs      as


though fully set forth herein.

        149.   Plaintiff is entitled to rescind the loan and all urccompanying loan documents for

all of the foregoing reasons:    l)   Identity Theft; 2) Copyright Infringement; TILA Violations; 3)

Failure to provide a Mortgage Loan Origination Agreement; 4) Fraudulent Concealment; 5)

Fraudulent Inducement; 6) failure to abide by the PSA; 7) making illegal or fraudulent transfers

of the note and MortgagelDeed of Trust; and 8) Public Policy Grounds, each of which provides

independent grounds for relief,

        150.   The Truth in Lending Act, 15 U.S.C $1601, et.seq. extends Plaintiffs right to

rescind a loan to three years from the date of closing if the borrower received false or incomplete

disclosures of either the loans terms or Borrower's right to rescind. Here, Defendants have failed

to properly disclose the details of the loan. Specifically, the initial disclosures do not initial TILA

disclosures, and lack of diligence and collusion on the part of the broker, lender and underwriter

to place Plaintiff in a loan she could not afford and would ultimately benefit             Defendants

following the negative amortization that accrued.

        l5l.   The public interest would be prejudiced by permitting the alleged contract to

stand; such action would regard an unscrupulous lender.

        152. As a proximate           result of Defendants' actions, Plaintiff has been damaged in an

amount not yet ascertained, to be proven at trial.




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         153.           WHEREFORE, Plaintiff prays for rescission           of the   stated loan   in its
entirety.

                             TWELtr"TH CAUSE OF ACTION FOR
                                 DECLARATORY RELIEF

         154. Plaintiff re-alleges     and incorporates by reference all preceding paragraphs         as


though fully set forlh herein.

         155.   An actual controversy has arisen and now exists between Plaintiffand Defendants

concerning their respective rights and duties regarding the Note and Mortgage/Trust Deed.

         156. Plaintitr   contends that pursuant to the Loan, Defendants did not have authority to

foreclose upon and sell the Property.

         157. Plaintiff therefore request a judicial determination of the rights, obligations        and

interest of the parties with regard to the Property, and such determination is necessary and

appropriate at this time under the circumstances so that all parties may ascertain and know their

rights, obligations and interests with regard to the Property.

         158. Plaintiffrequests   a determination of the validity of the Mortgage/Trust Deeds as

of the date the Notes were assigned without a concurrent assignation of the underlying Trust

Deeds.

         159. Plaintiffrequests   a   determination of the validity of the Notice of Default.

         160. Plaintiff requests a determination of whether any Defendant             has authority to

foreclose on the Property.

         161. Plaintiffrequests all adverse claims to the real property must be determined          by a

decree of this court.

         162. Plaintiff requests the decree declare and adjudge that Plaintiff       is entitled to the

exclusive possession of the property.


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        163.     Plaintiffrequests the decree declare and adjudge that Plaintiffovms in fee simple,

and is entitled to the quiet and peacefrrl possession of, the abovedescribed real property.

        164.     Plaintiff requests the decree declare and adjudge that Defendants, and each of

them, and all persons claiming under them, have no estate, right, title, lien, or interest in or to the

real property or any part ofthe property.

                                     PRAYER FOR RELIEF

        NOW COMES Plaintiff praying the Court rules in PlaintifPs favor and for
administrative, declaratory, injunctive and additional relief as equlty may afford, and just remedy

in the matter of identity theft, constructive fraud, collusion, fictitious debts, fictitious debt
instruments, fictitious documents and fictitious claims by all Defendants and that the court rule

in favor of the Plaintiffbased on the evidence presented, and administrates/orders/decree that all

Defendants are liable for all damages caused, and that compensation be immediately granted to

the Plaintiff.

        WHEREFORE, Plaintiff also prays that the court rules in favor of the Plaintiff and

administrates/orders/decrees that since all gains were obtained unlawfrrlly and fraud vitiates all

contracts that all Defendants pay back all profits, gains, interest, securitized instruments, notes,

and all real and personal property gained by the identity theft, fraud and collusion committed by

all Defendants. Plaintiff request that this be done immediately with verified full accounting of

all securities, bills of exchange, notes, or other instruments used in this matter. Plaintiff request

that this case be dismissed with prejudice and request that "all" Defendants pay for each

violation of identity theft, fraud or collusion and award Plaintiff such other and firther relief   as

equity may require, including, but not limited to further declaratory and injunctive relief against




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all Defendants. Plaintiffs pray for judgment against the Defendants and each of them, jointly and

severally, as follows:

        l.     For a declaration of the rights and duties of the parties, specifically that the

foreclosure of Plaintiffs' residence was wrongful.

       2.      For issuance of an Order canceling all Trustee's Deed.

       3.      To vacate the Trustee's Deed.

       4.      To quiet title in favor of Plaintiffand against Defendants.

       5.      For   "All"   Causes of Action   (l   through 1l) to be awarded as follows:

               a.    Compensatory, special, and general damages, in an amount to be determined
                     by proof at trial;
               b.    For Punitive damages and restitution as allowed by law;
               c. For Costs of this action;
       6.      For Declaratory Relief, including but not limited to the following Decrees of this

Court that:

               a.    Plaintiffis the prevailing party;
               b.    The Trustees of the Trusts have no enforceable secured or unsecured claim
                     against the Property;

               c.    The Sponsor has no enforceable secured or unsecured claim against the
                     Property;
               d.    The Depositor has no enforceable secured or unsecured claim against the
                     Property;
               e.    The Mortgage Originator has no enforceable secured or unsecured claim
                     against the Property;

               f.    Determines all adverse claims to the real property in this proceeding;
               o
               E'    Plaintiffis entitled to the exclusive possession ofthe property;
               h.    Plaintiff owns in fee simple,           ild is entitled to the quiet and peaceful
                     possession of, the above-described real property.




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       i.   Defedants,        ad   each   of theq    d   all persoilt claiming und€r th€m, have no
            estato, rigbfi,   title, lico, or interpst in or to the real p[opcrty or any part of the
            property.




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fts filing of an assumed name does not provide a user with exclusive rights to that
narne. The filing is required for consumer protection in order to enable customers to
be able to identifu the true owner of a business.




ASSUMED      NAME:                        BEVERLY AIYN YOUNG


PRINCIPAL PLACE OF BUSINESS: rf)5 E.t72nd Street South Eolland ILfi473 udted rtates of America


NAMEHOLDER(S):
                                          Name:                             Address:
                                          Young, Beverly Ann                1905 E. I72nd Sfreet South   Eollandlr-   60473 uuited
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                            Office of the Minnesota Secretary of Statc
                            Certificate of Existence and Registration


          I, Steve Simon, Secretary of Sate of Mnnesota, do certify that The entity listed below
       was filed under the chapter of Minnesota Statutes listed below with the Offiice of the
       Secretary of State on the date listed below and that this entity or filing is registered at the
       time this certificate has been issued.



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This information is for the use of the public and gives no protection to the nare being regisered. There is no provision in this Chapter
to keep another person or business entitv from adopting arxd using the same name. The fictitious name registmtion expires 5 years
from the filing date. (Chapter 417, RSMo)
Please check one box:




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 tr        Registration       tr     Renewal                                  fl    Amendment                                 tr      Correction
                                                     Charter number                                       Charter number                              Charter number


The undersigned is doing business under the following neme and at the foltowing rddress:
Business name to be registered: BEVERLY ANN JONES
Business   Address: c/o       1905    E l72nd Street
                            1PO Box mo,v only be used in    addititm lo   a   plrysical street address)
city.   state and   Zipcde:        .$quth Hollani-    n   60473

Owner Information:
If a business entitv is an owner, indicate business name and percenlage oy,,ned. If atl parties arejointly and severally liable, percentage
of ownership need not be listed. Please attach a separate page for more than three owners. The parties having an interest in the
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    has no such verhiage. Furthermot'e, there is no pooling and sen'icing agreement (PSA) that is
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                                                                     Certified Forensic Loan Auditors



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   r      The Mortgage shows a MIN number of 1003940-10800194S+-f and the MERS SERVICER
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                For more     infomtion about tltortgage El*tronic                        ation Sy3tero. Inc. (t!fERS) please go to grtw.mcfg!8s.9-ts



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    Investor for Individual Borrower
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       Investor for Corporation/ Non-Person Entitv Borrower


 Servicer: Wells Faroo Home Mortoaoe, a division of wells Faroo Eank NA                                                       Phone: (651) 605-3711.
           Mlnneapolls, llll

 Investor: Guarantor - Ginnle ilae


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                                                    Date:1210€,t2O1Z'll:2lAM pg: 1 of       B




NAME AND ADDRESS OF
TA)GAYER:
Beverly Young
1905 E. 172nd Street
                                                                               RECORDER'S STAMP
South Holland,lL 60473



THE GRANTOR(S) Katherine Fihpetq married to John Filipek, 5741 S. Nagle Avenue, Chicago, IL 60638, and
Daniel Cleve, a single man, 518 V/. Norris Drive, Ottawq IL 61350, for and in consideration of TEN DOLLARS
and other good and valuable considerations in hand paid, CONVEY AND WARRANT to Beverly Young, 1905 E.
l72nd Street" South Holtand, L 60473, all interest in the following described Real Estate in the County of Cook, in
the State of Illinois, to wit:

LOT 50 IN IIUGUELETIS 7TH ADDITION TO SOUTH HOLLAND BEING A SUBDIVISION OF A PART OF THE
NORTH I/2 OF'THE NORTHWEST 1/4 OF'SECTION 25, LYING EAST OF THE THREAD LINE OF TIIORN CREEK,
ALL rN TOWNSHIP 36 NORTH, RANGE 14, EAST OF TllE THIRD PRINCIPAL MERIDIAN, rN COOK COUNTY,
ILLINOIS.

Permanent lndex Number(s) : 29-25-11 0-009-0000
Property Address: 1905 East 172nd Steet, South Hollan{     [- 60473
hereby releasing and waiving all rights under and by virtue of the Homestead Exemption Laws of the State       of
Illinois.

TO HAVE AND TO HOLD said premises.

This property is not the homestead property of the grantors.

DATED: October 16,2012

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                                                                                         TOTAL:
                                                                                                     $90.00
                                                                                                    $13s.00


DANIELCLEVE




                                                                                            €xLr,biT <-
                             Case: 1:18-cv-03945 Document #: 1 Filed: 06/06/18 Page 48 of 91 PageID #:1
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 ETATE        Of,'TLLTNOIS                        )
  County of         COOK                          )
              t_    '-'

  I, the undefsigre{ aNotary Public in and for said county, in the State aforesaid, DO IIEREBY CERTIFY THAT
  Katherine Filipeh married to John Filipelq and Daniel Cleve, a single man, personally known to me to be the same
  persons whose names our subscribed to the foregoing instument, appeared before me this day in person, and
  acknowledged that they sigre4 seated and delivered the said instrument as their free and voluntary act, for the uses
  and purposes therein set forth, including the release and waiver of the right of homestead.


                                                                         '*"'" "rr/r^-
             Given under my hand and notarial seal, this l6n day of October, 2A12.


                                                                                         /t?t)*e\   Notary Public




                             OFFICIAT SEAL
                          VINCENT F GIULIAI{O
              NOTARYPUBLIC. SrErC
                                            Or
                   MY     COitrISSION Exprpcc.'




      NAME AND ADDRESS OF PREPARER:
      Vincent F. Giuliano
      Attorney At Law
      7222West Cermak Road, Suite 300
      North Riverside, IL 60546
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                                                   SECI'RITY AGREEMENT


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        NATIONSBAIWq N-rL, e oaicd tdio; rdkn    (rb .B*.).
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        of Jnne 30, t998 (rr tls sanr lmy bc arrE       rd,
                                                       supplarcrrat or mdificd frorn thne ro rirrc ar111
        ircMing uy agrcam cxuding the mamdry of, refuuncing or othcr*isc rcsrructuring all or my
        portion of ttrc obliguior undcr silch Agrunelrt or ary sucoessor agrcEnEil, thc 'credit
        Agrccrux"). To fudrcc dE B.nt to dtcr irro thc Credit Agrcamnr and to sccure its obligations
        tlrcEutdcr ard hcramdcr, thc Borrowcr trercby agrecs wirh rhe Bank as foltows:


                                                          ARTICI,E I
                                                         DEFTMTIONS

                           ffir    f.l.
                                     Defrd Ttras. As uscd in this Sccrlriry AgrceoEnt, tcrnrs dcfirrcd in
       the Crcdit Agrccoc* shll lnrrc thclr dcfimd mcanings whcn usod hccin, ard thc following terms
       stnll havo thc fofio*ing nrcenings:

                           'Acmmt Dehr" rncrue, with rcipcct to any Rcceivable or Othcr lr&ngiblc.            any
       Person obligrtcd lo     E   b   payrrcd thcralrdcr, irrdudilg without limiurion any acoount dcbtor thercon.

                      '&rsincas Dry'mcrns r dty oecr fun a Saurdry, Surday or othcr day on which
       comrrcrcial bants are authorizcd to clocc undcr thc lays of lhc Comrnonurerlth of Virginia.

                           'Cdhrrl' fn dr rrea&E r{;d             ot   io Sati1e 2-   I of ttb   Sacurrly   Agccd-,
                        "Equipncd' rurr ell oqriptcil rnw owrrcd or hercaftcr rcquircd by thc Borrower,
       imluding all iteos of nrechincry, oqdgrcrt, furnbhings rnd fixturls of arcry kind, whcthcr a{Ercd to
       real property or rd, rs rdl as all artmrobiles, truc&s ild vchicles of cvcry dcscripiion, trailcrs,
       handling rnd delivery cquipocrr, all rdditiore to, substitutions for, rcptacanrnls of or aecssiors to
       any of &c forcgoing, all aAcluruts, componcot$, parts (including qnre pDrts) ard acccssories
       wlrther in3tellcd rlpreon or afrucd thrao and all fuel for any thereof.

                           'lwcotory' re       dl iuroorymand a hacef,r*6ic* by tle&cuxr,
       ;rhirt     O   $    EeiL d &         |ul      Felry *t'ct rreldd br rdc c lce c arc trirH or
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      mrerirls  uacd or consumed or to be uscd or oonsunrcd in tlrc Borro*cr's businxs, (ii) rll invcruory,
      whcrcrcr teatcd, crridcoccd by rcgot'reblc and non-ncgotiable documenrs of rirle, rparchorsc reccipts
      and bills of lding, (ii0 rll of 6c Borrm's rLto in. b sd            rdr d pu&a   cdanr my oilEGd or
      trrcefrcr reccivcd or crldrcd by it br gm& a srvtcl            .d
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      uDPael    rdl:r,   i'.L"'Gog lcsclsbo,                         "tt
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      grmting rny righf to usc any Tradernark, ard 'Licerses' nleans rll of such Liccmes.

                       "Obligetioos' mcans (i) all ernounts now or hereaftcr payablc by thc Borrowcr to the
      Brnk oa dtc Notc, (i0 dl odEr oblig.tiolts or liabilities now or hereafter payablc by tllc Borrowcr
      prrsurnt to ttr Qodit Agrcmr, (iii) all obliguions and liabilkies mw or hcreaftcr payable by rhc
      Borroncr undcr, ericittg o$ of or io csnrcaion vith this Scarity Agrcanrnt or any othcr Loan
      Docura and (iv) alt oatcr indchcdness, obligations rnd liabitities of rhe Borrower ao the Bank. oow
      existitg or hercafu arising or irrurred, whcrtrr or rpt evideirccd by norcs or othcr instrunrrrs, and
      whcttcr such indcbtcdocss, obligations and liabilities are direg or indirtct, fixcd or coilingcnl.
      liquiditcd or unliqttidltcd. duc ot to bsomc due. sccured or urx€c{rtd, joint, scyeral or joint and
      scvcrsl, rclrrcd or mrclrtod to thc l.oryrs, similar or dhsimilar to thc indcbtedncss arising ou( of or in
      corurction with dlc Crcdit Ageancrr or of thc sarrc or a dillercnt class of indcbtedncss ss the




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       fudctncdness erifmg out of or in corurcction with the Credil Agreanent. irrcluding, without linritation,
       8ny overdr!frs ia any dcpcit Eolltrts @fu[.irEd by the Borrower with the Benk. all obligations of
       the Borrowtr sith respcct to lcltcrs of crodit, if any, issucd by thc Bank for the accornt of tlrc
       Borowr, aay fudcbtc&tcss of lh Borrorer &.t i. pumhrs.d by or assignal to rhc Bor* ard any
       indcbtcfu ofthc         Borrorrcr to flty   tssitrc ofatl   or a portion   ofrh   Nores or any othcr obligation
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       by tln Bcmw                 rilc|irfdr, -bc.! Gr!ffir tBrs. FrE& &&t:l ard *rre rar rtfrds,
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       riglrc io iodle"tr:rt   prgy, oabth. Edciyabb.
                       "Patcnt' mcans all lc{tcrs pstcnt ofthe United States or any other county, and all
       applicatbm for lcltcrs petenl of thc United Strres or my odrcr county, in wlrich tlrc Borrower may
       now or hcreafter hew my rigtr, fitlc or iffcrcst snd all rciisues. coruiouatiors, coniinuations-in-port or
       crtsrsions thcrcof.

                     'Proocrn' rc e0 FGEdL idltq (i) rk:               b aind gqr           olLoion.
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      C+rkrd    ircorrqtt ;teirc*cnd,               6i) rny md ell peynrcnr or olhcr propcrty (in any
      form wlutsoarcr) d   or &rc aod payablc oo accornt of any imrrarc! UAcrnnity, watranty or
      Suara$y pry.ble to thc Borro*cr with rcspoct to any of thc Collateral, (iii) any and all pa}'|IEr*s (in
      rny forrr utt Eocvcr) mdc or dtrc and pcyablc in corurcction with any rcquisirion. conEscation.
      co&nnuion, eciare or forftiaue of all or any Jrart of thc Collatcral by eny govcrnneatal body,
      auhority, burcau or agcrry (or ary pcrson, corporation, agcncy, authority or olhcr entity aoing under
      color of ary Bovcrffid aulhority). (iv) uy clairr of thc Borrowcr agEins third parti6 for prst,
      pres€ot or fttErc infriogcrEnt of any Pdcrt or 6r past, prcscnt or frrlure infringclllcrtt or dilution of
      ary Tradanart or for iqiury to thc goodwill rssociatcd with any Tradcruark or for thc breach of any
      Liccnsc rnd (v) any and dt ofir armur*s ftun liutc to tlnc paid or payablc uniler or in cormcction
      \f,ith 8ny of thc Collatcral.

                     'Rcal Esilc'ncans dl rcel propcrty end all buildiBs, plants, furnishing or fixtures or
      othcr improvcrncd to or corBtruction on rcal pmpcrty nor, owr*d or hcrcaftcr rcqrfircd by thc
      Borrower, and dl lcesctold ifiatsls rbw ovttcd or lrercaftcr acslitrd by thc Borrower in real
      FoPerry.

                       'Receivablcs" mcrru all accorft mw or hcreafter owirg to thc Borroyer, and all
      aoofltrts rcccivablc, @nhlct riglts. docuruts, insnflEots or chettd papcr rcpresenting amounts
      payaHc or rrcoies &r or to bccosr due to ttc Borrower, rrising horn thc erlc of Irwcrtory or thc
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                       'Tradmrrk'mm all right, title or inlcrcg which thc Borrourr rnry now or
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     namts, fictitious hsircss nemes. tnde styles. ser.ricc marts, logos. o{her sorrcc of business
     identificrs, prir*s ard labels on *'hidr any of thc fortgoing havc appcarcd or appear. dcsigns ard
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     similar officc or agary of thc Unitcd Slatcs, any Suile thcrcof or aoy other conntry or plitirxl
     subdivision thcrcofad all rcissres, cxtcnsiors <r rrnewals thercof.

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     Uniform Corunercial Codc as h cftcr in r juridioion otber tlpn Virginia thcn, as to drc validiry or
     pcrfeaion of such mtrity irtrcrcst, 'UCE' stull nrc.o thc Uniform Cunmcrcial Code in cffcct in such
     othcr jurisdiclion,




                                                                                         TR.ADEIV{ARK
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                                   (ti)    dl Egipmar;

                            0v) dl Imtqlory:
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             ud dl righs to p.yut of nrory of ttc Bormwrr;
                           (vi) to tlE crHrt mt irludd in tlre forcgoirg, rll boo&s, ledgcrc md
             rtco(& ed rll cmpolcr pmgrrros. t pcr, disca, ptdr c.r&, drtr pracssirtg sofrwarc.
             traffi fihe, mrtcr fiIc! rd drEd propctty md fuhs GElu@ coqutlr.nd
             pcdpbcrd cqdFat) trccc$rry or hclpful in coforcitrg, idatifyirg or cstrblishirg rny
             itcm of Oollacrd;       rd
                            (viD b lhc Grefi rot othc(lrisc imludcd. dl hooccdt rnd products of
             rry or dl of er frrcgoirg. x,ttdhcr cre{fu orr ttc datc hcrcof or rricirg hcreaftcr.

                   Sdil a2. Cddaa lleHf,tv d tb Bororcr. Arryfiiog lrccin to rhc contrary
     notrlmoahg, &c Bqrutr rhrll tmi! li$lc ro obervc ud pcrforrr dl Oc tcrrm ud colditions
     to bc obcnrcd ud pcrfuncO by lt ulcr rry mtnctr .grccmotr warrrrty or ohcr obliggion with
     rc+ccf b tc @l&rrl, rd &il do odhfug to inprir thc scority irucrasts hcrein grarcd. Thc -'
     B.ot sbdl d htrc ry obligdm or lirDility rdcr ury srtr cmir.ctr agrccrEil, wamily or
     oblitlion by rlrroo of or rrirbg olt of &i! Sccurity Agrcanau or thc rccetx by thc Brnk of rny
     pqIffi rcl.titrg 0o rf,y OollrEnl, ur drell tlr Br* bc rc+ircd to pcrform or firlfill any of thc
     obtitili@ of lhc Borrorycr vith rtgca to thc Collrtcral, to rmtc any inquiry es ro thc nlrure or
     $mciancy of uy pryrm rcccttcd E it or th afficicy of thc pcrfonmrac of eny party's
     oblipioor with tccpu lo ecy Colhcad. Furthcrmrc, tE Bu* shdl na bc rcguired to fitc any
     claim or dmd b coflcct ry rmam &c or lo cobrcc thc pcrformance of any party's obligriort
     witt rtspca to. lbc Colhtcnt.




                                                                                  TRADEIr/IARI(
                                                                         REEL: 1773 ER-A^iE: O953
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               Adl &brierrodoi*ff b Ldve
                        to teep WETIE, PEOPT-E            iEryt      and
                        incompcEl

                          Sedlon    23.f   Solcs   erd Collccfioc.

                           (a)       Borro*u b edhorizd (i) ro scll in rhc ordinary courrc of its busirrcss for
        frir   valuc fid. on m em'a{agh brrir rny of its-Iwanrory nornnlly h.rd bt it for s-rrcfi purpocc
                                                                                                          and
        (ii)   o nsc rnd oooalr. inlhc ordirary cumc of its hsitcss, aoy lirw maririals, suplics rnd
        ggtirls umdly        hdd by it br     rcbFr4r.           Thc Bsnk ouy uF)n thc ocanrrcra of any Event of
        Dchult, whhort     canse   ormtioc,   orail      or tdminate $cb auttorily at any rirnc.

                          O)    The Borrowcr is autlprizcd lo collcct arnunrs owing to ir with rcspect lo thc
       Colhtcml. Hovwcr, ltE B.rk mry         il rrDr tinc. qrn thc occurnncc ota Ocfuutt. notify iccount
        Dc0ton obligacd      m&c pqyrrEoB rurder ury or rll Rcivrblcs or Odrcr Inangiblcs that rhe Bank
        h$ e sacurig iillrca
                           'o iu arch Coll,ricral end lhat p.ytu&r sbrll bc ItEdc dirlcrlt
                                                                                           to thc Bardi Upoa
        ttlc rGqEst of ftG Ernt u rry tirr rpon thc omrncne of a Defarlt. rlrc Bormw will so notiffiuch
        tEormt dcbtorr. Tb Bcrrorrcr vill rr:c ell rcuoorble elforts to cauc caclr accand dcbror to conpty
        with thc forqoiry instuti<ra. ln furthcnmc of thc foregoirq. Or Borrovrcr rulborizes thc Bank
                                                                                                          [i1'ro
        rst for. dannA colha, rtccivc rnd givt mquirrrc and reeipr for rny ald all anrorurts dle ard to
        bo{Ile dr undcr rqr C.ollercnl trd, in thc rrrmc of thc Borrorrcr or its o*'n narE or orhenrrisc. (ii)
       o ab Pxcssion of, cndorse rnd otlca rry dtcts, dralts. rmtis. acccptrrm or othcr irgrumcnrs
       br thc pqarcm of nuuyr &rc uadcr aay Colhlcnl snd (iii) to fih any cteim or rskc any orhcr action
       in rny court of lew or cqrity^or othcruirc dri:h it mey dtcm rJrproprilc br tlr prrpoc of coltaing
       lly amuDrs dus uoda rry Collatcral- Thc BrDk $rl! hrvc m ohligelon to dtrin or rccord any
       informuion rclnfug to tte sqrcc of suct fun& or thc obliptions in rcspcct of whidt pelrrrcn6 havc
       bccn mrdc.

                         sGcdoo    2"4 Scsurflo          of Prrocds

                         (r)       Thc   Br,t stdl brvt tb       riglu at any time  $m dE oco,rr"'rce of a Dcfautr to
      cerEc !o bc    oPcd   d      tuhniaod d      lho   p@I       officc of the   Br* a non-intcr6t bclring bank
      rccom (thc'Crrh CoIlrcr:al Aocour) wnidr sill codrin urly IM.         Aay cesh procecds (as
      stdl tlru fu dctrDd in Secrion +306(l) of 0r UCE) reivrd by tlr Baik direcrly fionr Account
      De&tors elilrEd fo Dtlb pryrurts mda Rcccirahtcr or Othcr Irraogiblcs pruunr ro Sccrion 2.j or
      nun orc Bonorcr pusrnn to clilsc G) of ahis Seaion 2.4, whethcr drisritg of ch.cb. norcs.
       drafts, bills of crchlrgc, ttpocy ordcrs. conrnrqcid prpcr or uha Pmds rcccirrcd oa accouril of
       rny Ccilhlcral. rhrll bG Dro.4dy dtpocilod in thc Crsh Collttcml Accqurt, ard unrit so depoircd shell
       bc hcld il trust for.nd rs tb Brok'r propcrty         d
                                                          $dt rror bc cmminglcd rvith rny frrrds of thc
       Borrowr mt cmrtitrting Procccds of Cotlercnl. Thc nnnr in which rhe Cash Collueral Aocoum is
      ctrfti shrll &tty itrdiotc lH thc futd! dcpocitcd tlErci! arc the propcrty of thc Boronver. subject
      to 0re rccrnity iotcgt$ of thc Brr* lscuodcr. Srrtr Prrocccds, wtcn @6ir€4 shall corriru,re to bc
      mrity for dE Oblitrlim ad $dl ro[ conttiue paymcd thrreof uolil applicd as hcrcim.ftcr
      prwinoa f!6 nrnlrhln bevt solcfuIdsioo sDd coogol over thc frm& d*oeitcd in rhc Crsh
      coltrtcnl rtDcoud, rd arch fudr mry bc wittdn*n rtrcrefrom only by thc Brnt; nrovidcd.
      tloftt'err   th  tfril omft.bdt     ocqr, dl collcctcd fuo& oa dcpocir in thc Cash Cotlateral Accounr.
      or !o rEucb tbrcof rr ii Dd ltquird ro mttc payrrart of ttE Obliptioru which harre bccornc dge and
      pt)r.blc, shdl bc ,itDdrrwn by ahc Brnt @ thc           errirc
                                                                Day ncf,t folloring thc dry on which the
      Bank considcrs lbc fonds dcpcnd dErcfu m bc othctod fuids rnd dirbused to rhi Bormwcr or irs
      order.

                        O) Upon mtice by thc Btnl to tbc Borrowcr that thc Cash Collatcral Account.has
      bcqt opcttd, drc Botro*tr chrll causc all cuh Prcccc& collcctcd by ir to be delivertrl ro tlrc Bank
      forttviilt upon rcccipt, in ftc origfuul form in which relivcd (wirh suclr cndorserpnts or assignn*nts
      ar uy Dc nccanrry b Pcrsdt cdtcc&[t thcrcof by thc Bent), ard for srch puqrosc thc Bortoger
      trc@ irrcvocebty afiortzes ard crporcrs ltc Bank, irs ofrrccrs, cnployces and authorized agcnts to
     codorsc and rigD tE lrnr of fte Borrortr on dl ctocb. dn&s, nroocry ordcrs or uher mcdia of
     pymcn ro dclirrcrcd, rd nrch codoraauur c rssignrrcus rtull, for alt purpoicr, bc danrcd ro
     hrv! bcttl mdc by 6c Borowcr prior to rny cndorsanrcnt or acsignmcar ttrcriof Uy thc Bank. T6c
     BanI rmy ure          oonvcnicnt or cttstmlty nuns br thc prnpo* of collcoing such chcks, drafi-s,
     rmncy ordcrs or 'rryorbcr ncdie of prymcr*.

                    Socd@ 2.5. Yrrifrcedor of f,co*vrtr|cs. Tfu Benk shatl have thc right ro makc 16r
     vtdficatimr of Scceivabla io any menncr and hmugh any mcdium thar it considers rarisaUe. ,na rn"
     Borromr agrccs b 6mish all rrdr assisturcc and information rs the t ant may rcquirc in connectbn




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       ttErcsith- Thc Borrow u its cxpcnsc will      causc is chicf finarcial ofliccr to funrish ro thc B.nk ar
       ury tirE   rd  frorn tirrE to tirE Fqnilly upon rhe Bank's rtqu4r, firc following rcporB: (i) a
       recorilLtioo of dl Rcccirrrblcs, (ii) m rging of alt Rcccivrblcs, (iii) trial bolalrccs arrd (iv) a asr
       vcrificrtioo of $dr Rcccivable rs thc Burt mly rtqterr.

                        SG.da 2"6. Rdcrsc of Co[gtarot.

                       (e) Thc Borrorrcr rnay sdl or rcalizc upon or transftr or ottr.rwisc diqrose of
       Colltlcrtl a! pcrxllbd by Scaiu 4.13, eod thc scorrity Lrcrcsts of tlrc BaEk in srrtr C.olplcret so
       soH. rcelizcd tDon or db@ of (but mt in thc Procccds arising from such sale, rcelizarion or
      dirPclitim) sh.ll c'rc iuncditcly upoo qrh salc, rcrlizrtion or diqroeirion. withorr any ftrrrhcr
      ictioo m ttc prrt of dtc Bstk. Thc Brnt, if rcquc*ed in rritirg by 0re Bormwcr bu u the crperEc
      of tlE Borro*lr. fu heaby rudtoricd rrd instnncd to ddiver ro thc A@ur Debtor or the ptrchrcr
      6 otbcr truBfcroc of rny ndr Colltnl a ccrrificatc ffiing t[ar the Bank no tongcr h3 a sccurity
      iilc[ln dErcin, .Dd arch Accqrc Dcbor or srdr prrciascr or dhcr tranderce slull be cntittcd to rcly
      ffihsitrf, oo srdr catificac fur any and att prpccs.
                        O)    Upon tlr prryrcot in futl of all of thc Obligrtbrs by rhe Borrowcr ald if there
      ie no   odrnitlutlt  ttc Brak to nnte fitrths .dvart6. incrrr dtigdiors or othenpbe givc vrlue, 111c
                            by
      B.nt rill (rr som u ltuodty F.rtic.blc rftcr reccip of ruice from ttre Borrowcr rcsrsrirg rhc
      samc hr rl thc crpcocc of thc Borrowcr) !c!d the Bormrrcr. for erch jurMicrirm in which e UOC
      fuamiry srteoqt b on filc lo pcrftct drc soctrity irrcrests grutrGd to thc Bad( pregndcr, a
      lcrmintitm shlancoi to lhc cffcct &$ tb Bant ro br6cr claits a scanrity intcrtst under nrh
      fineacing rrilctrEm.



                                                       ARTICI,EIII
                                     RETNEENTATIOI{II AND WARRANTIES

                       Thc Borr,ostr   llptlscils gd   werrarils thal:

                            3-1. Vdldtv of Scsitv Acnonenl: Cucnls. Tlrc cxeution, delivery and
                       Sccilon
     pcrfurmurc of     fib SeJrity
                                 Agrcctrtlol 'nd thc crcetbn of tlrc sccurity htclr$s pmvidcd for hercin
     0) rrc within tla Borrwcr's oorponlc pow, (ii) hara bear duly rulrorizad by all iccssary
     coQorrtc rcriorl imhtdhg the corcrr of rberdroHcrs wltcrc roquirod, on bchalf of drc Borro*tr. (iii)
     rri m io cunrrcrtion of rny provirior of thc Borrowtr's articlcs of incorpontion or by-laws, (iv)
     do m viotarc ay hw or rcgrrlefion or rny or&r or dccrcc of rny cotn or govcflEtu*rl
     iustnnrnrlly tpfliaUtc to tlt Botmmr, (v) do rnt conflict with or rcsutt in e brcach of. or
      co[stifiltc r dchttlt undcr. rny iadmrc, ril)rtg8gc. dccd of trust, leasc, rgrcancnt or othr irstnrnsrt
      ro cfii,h thc Borrow fu a party or by n{rich it or.ny of its propcrths is bomd. (vi) do rnr result in
     thc crcatioo or irryoridoo of ary Licn upon ury propeny of thc Borrower orhcr than in favor of thc
     BrDk md (viD do ru rcsrirt thc oomeu or rpproral of .ny govfirncr*at body, ogarcy or official or
     & pcrson olhcr thdl tlDsc $* h'l,c bccn dtrird. Thb scoriry AgrEan€ril has been duly
     crccutcd .d dcliv€Gd by thc Borrorcr end cooginrx the lcgrt, vatftt ud bfurdtns obligation of rhc
     Softos,lr, cnftrcclilc lglirEt it in rccordarrc wirh its tcrms. cxccpt as such anforccatritity may bc
     limhcd by epPlicdtc bcoeruptcy. insolvcory. rcoryanianioo, rnoilorium or similar larvs rclating to or
     ffi.tiry thc cobrcclbility of crtdion' riglxs gcrEnlty alrd by gcncnl provisiors of cqrity
     (regrrdlas of whabcr suclr eaforccability is coosirlcrtd in a procccding in equity or ar hrv).

                     Secdo 3J. fith to Colleerrl. Exccpt for thc security intcrests gra$ed to thc Banli
     Pursudlt m dris Sanity Agreccnr, dre Bormrver h thc sole owncr of eactr itcrn of t|lc Collateral,
     hrving good   d  rmrkaablc titlc 6crcto, frle rrrd clcrr of aoy rnd rll Licns, cxcept Permitted Liens.

                       SeCloo    33. Vddtv. Perfdo         rnd   hiorlty olSonity Intcruts-
                     (a) By corplying with Scction 4.1, the Borrowcr vill luvc crcatd a valirt scclrity
    imcrest in  fevu of thc Brnk in dl Gf,inhg Cdlarcrd urd in all idcrrifirblc kocoeds of suclr
    @l8cml, wtich ccurity intcr€st (cxccpt in rcspect of nmaor vchhlcs for which the cxclusivc manncr
    of pcr&cring t sqtrity lnrctcg thcrcin is by notiog srdl setrity interest in the certificatc of tirle io
    acaordrncc lpith local law) *urld be prbr to th. claims of a trustee in bankruprcy under Section 544(a)
    of tlrc Unitcd Stares ftdcol Brntrupcy Code- Corrirnring corpliarrce by rhe Borrower with rhe




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        Provisidls of Section 4.2 witl rlso (i) crcete vrlid security iricrrsrs in att Collereral acquird after tlre
        drtc lrrcof ud in dl i&difirblc Procd of nrct Cotlatcnt ard (ii) crusc such sccuriry inrcresrc in
        dl Gollilcrrl ed h rtl Pmcccds u'trhh arc (A) idaifirblc cash Procceds of Collacrrl covcrcd by
        fimring sratmt rtqufud !o bc fild hcramdcr, (B) idcntifirbh Procccds in wtrich a sccuriry
        interest mey bc paftctcd by $ch 6liDg under tllc UCC'ard (C) any Procccds in rhc C.sh Coltlrertt
        Account to bc dtty pcrftctod uodcr thc UCt, in cach c.sa prior to rhc claims of a rrustce in
                    unda fu Unit d Siles fcdcnl Brn&tuprcy Code.

                         (b)      Thc rcurrity iotcrestl of thc Brnk in the Collatcral rank firsr in prioriry, crcepr
        thar thc priority of thc seorrity inrercsrs rney be srbject to ltrmined Lierrc. Othcr rhan finarrcing
        stetctmnls or oahcr similar .locun}.nts pcrfocting tte scc-urity idcrcsts or decd of trust ticns of tlc
       Brr*, no fmto.t'8 snta - !tr, &ods of tnrsr, mortgags or sirnitar doctslents covcring ell or any pen
       of the Collrtcnt .rc oll fih or of rocord in rny govcrnrn rt of6cc in any jurisdiction in which such
       filitg or rccordiry rrorH bc cftctivc to pcrftct r sccurity intcrcst in crch Collatcral, rmr is any of thc
       Colhtcral in thc posscssion of eny Fcrson (othcr than the Bormwcr) asscrting rry claim thcrcio or
       scority   irxcrEst Orcrcin.

                       S.cdal 3.4. Enforccalillfv of Rccdtnblcs aod Orhcr latengibles. To rhc besr
       knowldgc of lhc Bonoucr, eli Rcceivrblc elrd O0rcr tuangiblc is a yalirl and birding obligation of
       thc related Accottrt f,hhor in n+cct tbcrcof, cnforccrblc in accordeoce with its tcrms. cxcc?t as such
       caforcarbility rny be limited by qlir:blc baotnrptcy, irolwrc],, rcorgrnization. noratorium or
       siBiLr hws oftaing the cr6rccrrcnt of crcdibrs' rigttts gorcnlly rnd by gancnt prwisiors of cqpity
       (Gprdlcs! of rttahcr stct cofutcc.billty is cquideltd in a procccding in equity or at lew), and
       cooPlics wlth ery pplirblc @rl regiramants.

                        Sa"tlo,t 35. Plro of Bushrcs: Locetlon of Collrrenl Schodule t correctly sas
       forrh thc Bono*tr's chicf crecrrtivr officc erd prirripel placc of hsirrc of thc Bormwcr and the
      officcs of thc Bororer whcrc raords @srniDg Rceivabtcs ad otller latangiblcs are kept.
      Sencdulc 2 correaliy scts fordt tho locatioo of all fgriprenr and Inve*ory, ottrcr than rolling se.k,
      rirc'rrfr, 8oo& iu trrrcit and lurcnory sold itr ttr otdimry cource of hrsiDess es pcrmittcd by Scction
      4.13 of thit Scadry Agreana. Erccpt as dhcrwisc apcciticd in ScMulc 2, ell tnventory and
      Equipcot b.s bcco lodd !t th rddress spccifid on Sdrcdute 2 at alt timcs during OE four-rnonth
      pcriod pri,or to thc dee trcrcof whilc otrrEd by tfic Borrcwer. All Invenmqr has bccn and will be
      prodlrld in onpliancc with thc Fair Lebor sandards Acr. 29 U.S.c. gg 20t-219. i{o Inventory is
      evidccd by r rqotirble dumcrt of titlc, wuttrorse rcccipt or bill of lading. No noo-negotiablc
      docrlrEil of title,   *trd  nsc rcceipr or bill of hdiog has becn issued to sny penron orhcr thsn thc
      Borro*cr, aod thc Borrow he rcnincd poscsskx of rlt of srlr rpo-negoiitblc docurrcds,
      r9erdtduc rcccipts and bills of ladirq. No amoril p.yablc under or in cqmcqion with any of t6c
      Colllccrl ic cvidcoocd Uy promissory rotcs or otbcr instrunrntr. 'Ilrc real 6trte listcd in Schcdulc 3
      colBtitltca dl cxidiqg Rcel EslJG.

                     dr 3L IEIhr.
                       St                  Ary"rodall tndorc, divirtm @ari Emrcd tl1nu
      c&rc"rr+rrffit         drBortorrttffi, qli{rin 0tcftEHrrrtih pctidprior to thc date
      r''uof hrs medE* h.incss reqccificd oo sc*rrc rr.              -i
                                                          L/ Li ti. ri a. ri,: rLi#spj _Li

                                                      ANTICI,E IV
                                                     CO\IENANf,S

                      Ttr Borro*tr covcmnrs rd 4rtcs wilh rhc Be,& $er unit the paynEd in full of eu
      Obligrtions.nd lfril thcrc is no cornoiucnt by thc BenI to make funher rdvrnces. irrur obligarions
      or othcrwirc girc vduc, ttrc Borrowcr will conply wirh thc following.

                       Scdiolll.     ftrfccdo of Seoritv ldcrcsns. The Borrower wilt, al it cxpetule,
      causc all filingrld   rccordiqs rnd othcr aaiom spccitial on Sdcduh 5 to luvc becn complctcd on or
      priror to dr date of &e first Losn urdcr thc Crcdit Agrcanrcnt.




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                                                  ll$otr4r. ftnh.rAcd@r.
                                                  (a) At a' rirr's ofter rhe dare of rhc firsr Loan urdcr
                               Bormrycr will. at its    crpare. canpty with rfr. foffr*-irg,"                           rhc   cretlir Agreemed. rhc

                                                       (r) g1o rlt Rccdvrblc. Ofrer kuugibles. Eryipmerr
                                       Invarory, ir wirt cr*c ucc turcirg saiilIroo                      and
                                                                                      **ir*i* srar.,nd*
                                       bc nbd .,d m be on firc-in a, app,.iureiu.tJi"iom                                               ro
                                                                                               rs rcsri*d .o perfccr rhc
                                       sco,ity iflcn'sts grantcd to &c nir,t t""iao"., t o,.
                                                                                                "'riUCC; q,or"i;i;*
                                       pcrniB pcfccilon of I scctrity incrasr hy                      ,h,
                                                                                  filirg urtlcr rhc
                                                       (iD as to all procccrls, h pilt cersc alt UCC finerciog
                                       s*ctncn''      continntion $r!!{Daui fircd io accordae *iu,
                                                      and
                                       irchrdc r scrErrm m a cbectcd bor inrricarfug
                                                                                                        *ai0'"tor",o
                                                                                      ttil prcceds of"ta, itcrns of
                                       Collsreml dcscribcd rhcrein rrc covued,
                                                                                           g.tgbJmes
                                                                                        IULU
                                                            (iii)
                                                              rpotr rhe mquecr of dr Bank. it wifi ensure
                                                                                                          thu rhe
                                                            -
                                       provbions of Sectian 2.4 arc conptied widr;

                                                            (Ivl-
                                                                    . T to-aay amornt plablc    undcr or in         u[:ction    with any

ffiffififfi-trurx#,ffitrffiL"ffi"#"  orortcr     imru
                                     rnauet sdisfuorv
                                                               btbc Ber&asFrrqf ,lE
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                                                                                            Coff;:;ty               erdsscd in     a
                                                                                                                                       txrgdca,_tr.qeed upor, pasanavint{lccfur
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                                     ,p**                              ;il*-                                r                          f3'^pd.:rbbu,i;;;'.resia
                                     rb- c-it                           (hE! h rd frnr                                             't; ffi.*t':'"h 1l ag,Enca*-seuitr- or
                                                                                                                                       "*;*;;;ilffiHI[
                                     !r*'rc      r - :r               r* ftr rnrit h. r li=uriaay     u rr. r..rninut",i Ary flr;;il;;
                                                                                         r! i;d rb rit; .,d rhe Jones rerms                                       if aay   wi,        on
                                                                                  -                                         and conditiom
                                                                                                                                                                                 be

                                                        (vi) rodlh,brrF_1Tr&ra
b greor €rlor   d tqr                Td=f:-*rh                      *rh.*-a--                                   r d
tcqcolmcue,ao*' - *=-t?in'sdettGIi.m;I,il*                                                                                     d&
                                as

             ,    Pctlcclar-ry-tbdrrfr,Id:#mrEr                                                                    rr-:.d G*.l.
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     hdrc crccpr to thc cuer thrr drc feiltrrc ro comdy wuld not lEw r silcri.t rdvcrsc effccr on the
     fmrrcial or othcr oditio of thc Borostr: E&ridc, howcver. tha the Borrowcr miy conrest any
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     of   $c Brnt rdvcrsdy affccl dE Bank's rights or ihe firs priority of    its security imefot in thc
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    a chim in or to thc Oolhicrd odEr drrn &c sccurity iucreis crcarcd hcreuder. ard excepr for
    hrmiccdLiG.
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     are ueully insmd tFirrt bg oqrer$Es a€rtod in thc sanrc or similar hsiness for an
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     sathfrciory lo tle B8It ard (ii) irlrurttg thc Borrourcr and the Bank apios tiabiliry tor persorsl injury
     ari*rg frorq md prqcrry aauqge rdlrirg to, srch lnvuroqr and E$riarrnt. ntctr putlo to be i;
     suctt6rm $d to concr suci rflands as mry bc srfbhctory lo alE Bar*, with la<r*'payrblc to thc
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    by thc Baalr' dclircr to lhc 8ilk I oien as thc Bank may rcasombly ro(p6r a rcpon of ttr Bb.rorrg
    or. if rcpcsod by thcnank, of sn ingrrame brokcrsaisiuory to ft B;* of thc insunru on me
    Irluory and Eqdpurcrt- Atl in*rrnce with upcct to thc tmeolory md rhc Eqripncrr srdt                     O
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    accordre witt &c tcnns thctcof mrriescndirg ily .cr Gf (he Borro*er which migtu orhcnrrise
    result ia forfti0nc of crelr imrrerc aod rhat ttc insrrer vaives all righrs of sa-off. currcrct"im,
    dcfrUim or Obrqgrfirrr agritr* &c hrro*cr, (iii) povirlc rlnt 19 caDcefiirtiOr, rcdgAion in anount
    or ctengc in covcrrgc thcrEhr shdl bc cftctivr urrir a krs 3o days aftcr rcccip by rhe Bank of
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    io rtspccl thefiof.

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    dircaly or indrrcctly (thtilgt tb satc of moct, stcrgnr or o&ffpirc) wirbour rhc prior wrinerr conseu
    of thc Bank sell, tensfer. lease or ottrerrrise disposc of rny of the c.oltuerat, or attcng, offer or
    coolrsct to do so crcqf fur G) sales of Invdory in thc ordinary canrse of its bosirrcss fq fuir valuc in
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    .luhnha or becr nlrc ad dich is sl&ied m a fim prbriry scorriry irtstst in Evor of tb Bant
    drcrcin, cxoetr as pamihd by suion 4.9 rnd exccp fur permiited Licrr or (ii) epplird ro Fep.y rhc
    Obligatioas. Tbc irrlusim of Pnocccds of thc Collacrd under fte scority iueresrs gramed fereby
    shall rpt bc dcErd a coosctrt by thc Batk ro any sate or disposition of any Collarcrai othcr &an as
    pduittld by this Sectim 4-13-

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   B.nt nom dmc to ttn+ strtrscuh ad dtduhs furttcr ibnti$ing eod describiag thc Collucrel rnd
   src.h ottrcr caorts io comim cth tle sLftill ri &e Baft rnry rcasonabty rcqucst.


                   Sccdon 4J5. Nodtx. Thc Borrorcr will advire rhc Brnt prorgty rnd in
              dctail, (D of any Lico, sccurity intctcst. crurn&r.rEc or claim rEdc or asscrted against any
   of thc Collaarrl, (ii) of any rnruial chmtE iB thc conposition of ihe Collarcrat, and (iii) of lhe
   ocorrance of auy ottGr     ffil whil$   reE  luvc I lteuiel cffect oo thc tggregetc vrlue of the
   Colluml or ofl thc scanrity itrbrEsb grrrd lo dtc Rr{k in rhh Scarrity Agreernm.

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             crill lrse its bcst efiorts to bocorr awarc of aay srctr change in tawlJ which (A)
             advcncly afEas or will rdversdy aficcr the wlidiry. psrhctioo or prioriry of rhe
             st{l[iry idctcsa gaflcd hcttby, (B) resires u will reryire e charEc in she
             procldurls to bc fullmrcd in ordcr to nninteia rnd pIoE $dt nti{tity,
             pcrfteioa rrd prbrity or (C) coild rcsu[ in ttc Bank nor hrvirg a pcrfcced
             sr.ity iacrcst ia any of thc C.ollrrcral:
                              0i)    fumish ttc Bank rith rn opinion of outsidc kgal currscl
             sarisfrdory to rhe Bgnk qctring fiorth rhc proecdures ro be followad in order fA) to




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                                              avoid (or lo midmizr if avoidrnca is impossible) such advcrsc effect, (B) to
                                              mairtain rnd protcct srch retidiry, pcrftoioo anrl prioriry or {c) to assure tlrat thc
                                              Bank hrg perfcctcd scarriry increts in att of tlrc Colhrcral: arxl

                                                                (iii)   follow thc proccdurcs sa forth in srrch opinion ofcounsel.
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                                                   Scdic {-17. Ridt of lpsouiou. Thc Bank shatl u all rirnes have full and free
                                   access&lring normal hrsiness hotrs to alt thc books, correspondencc and records of thc Borrowcr, and
                                  the Bsnk or itr rqresatatives may cxemim ttr same. rrte crtmcB llrcrefrorn, ma&e photeopics
                                  thcreof ard havc srrtr disorssiors with officcrs, crnployccs and public rccour&rnr5 ofihe Borro$€r
                                                                                                                                     i.s
                                  fhc Bant may dcanr rEccssary, and rtrc Borrorrer agfccs to rcnder ro thc Bank, at thc Bormwcr,s cost
                                  and cxpasc. such clericd rnd other assistrmc as rmy bc reasonably requcsred rvith rcgard thereto.
                                  Ihe Bank and is npnsemivcs stull a alt tirrs also bavc rlrc riglrt lo eater into and upon
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                                  premiscs where ay        dtb
                                                             Invauory or Equipmcnt is tocared for thc purpose of irrpccring thelarne,
                                  okrving its usc or protecrfurg irtcrcsts of tlrc Birnk ttrcrein.
                                                  section 4.I& ltttaiateasrcc of Eouigueot. The Bormwcr witt. ar its expcrlsc.
                                  generally maintain the E$riprnent in good operatiog cordition. ordinary wear and tear        *on'on"'^
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                                                    (d)        Thc           shall rntifv          imgcdiudy if its knows. or has reason to
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                                 or dedicarcd, or of rry           dstsmination or               (including, wilhor.rt limilation. the
                                 iostittfun of, or arry      dctcrmirarioa or denrdopment          proctedfutg in the Unitcd Strres patenr
                                 ard Trademark          or any court or tribuml in aay                      thc Borrowcr's ownership of
                                 aoy htcnt or               its rigtu to rqistet the same or kerp      rainuin thc same.
                                                    (c)       Io oo evcnt shall rhc Borrorrcr. cithcr     thrurgh ily ageor, cmployea,
                                liccnscc or               filc an 4licrtion for registration of arry        Tradcmark with the Unitcrt
                                Srrtcs            ald Trdcmark OffiDe or any similar oftice or agency         othcr country or any
                                             eobdivision thcrcof, unless it proqrly inficrc drc Bank ard,       rcqucst of drc Bauk.
                                              ud dclivrrs rny rnd atl 4rccfiEots. ictruopors. documatu                as thc Bank may
                                            to svidcru thc Bar*'s sccrrity inrercst in srr,tr puant or               the goodwill and
                                         ioangibles of tlrc Borrocrer rclati4g thcrcto or represcorcd thcrcby,      the Borrowcr hercby
                                /on$ie[6 trc     Bent ir aroraey-in-ha b cxccrrr and file all suctr writirgs for\      foregoing purpoccs,
                                all such aas of   guci aromry bciqg hacby ntificd and confirrncd. Suctr      -power
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                                inrcrcst is irrevocrble until rhc Obligaiors arc paid and srtisfied in full.

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                                in any otbcr corrary or.n], potitical suMivision thercof, to maintain ard pursrc cach                  (and



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         lo obtain thc relffant rtlbtration) rnd to minaia each registration of the Patents ard Trrdcnrarks,
         imludiog witlrou limiEtion, filiog of rylicatbos for reneq,al, r{tidavits of use and affidavits of
         incor*etability.

                         e) If ary of the Pstcd snd Trrdcnrerk Collatcral is infrioged, misappropriaed or
        diltxcd by a tbird puty. lbc Bumwcr sbetl prurytty mtify dE Baot eftcr ir liarns rtEr;f ;rd 31rll,
        unlcss thc Boro*.ars$all rcasoubty dctcrmir fut srrh Pateru ud Trrdermrk Collareret is of
        ncgligiblc €@omic YaIuG to dp Borrorcr, prompaly suc for infringcncnt, misappropriation or
        dilution, scct inftmivc rcliEf udtcte apprqrirtc and to rGoovcr my and rtl tlamagcs for suctr
        infria$olcot. mirryprryi*lon or dilution, or ro tate such orher sdion rs ttrc Borrower shall
        rcasombly tlccm +prcptrtc mdcr thc cirounslEnoc to pmtect such Patcrt ard Tradsnart Couateral.

                         Slefio a.2!ll. X.ffirrsenld Ot$dfotn          Should   ftc Borro\f,cr fail to compty with
        ttc provisboe of tb Chcdit egcarcot, eis Sccority Agrcanm, ury other Loan Doormcnt to which
        it b e party or ry o&cr l8rc.Grl rdrtiDg !o thc Cotlaterrl $lch that thc raluc of auy Collateral or
        thc vrtidity, Frfccdo& nnt c vatrc of ary sccurit, inrcrct gnded Io thc Brnt heranndcr or
        thcrartdr is tlrcreby dlminishcd or pormhlly diminishcd or Frt ar rist (as rasoorbly dcrcrmincd by
        thc n'"k), thc Bs* or bchrlf of ttc Borrowrr my, tut dull nor be rcqoircd ro, ctrcct slrctr
        mrylienp on b&lf of tbc Bqruwcr. ad tbc Borrower slull rcinrburce the B.nk for thc coct thcrcof
        m fuad' ild irEtcst shall aoqrr qr such rcin&urscnrcot obtigation hom thc date lhc trlc,vant c656
        arc inancd utdl tcffiurscuru thctEof in irll at thc irucrest nte in eftct urdcr thc Note.



                                                         ANTICI.EV
                                         REMEDIES; RIGHTS T,PON DEFAI,LT

                        SGdm      5.L
                                    UCC Ec&r$ If rny Eveu of Defrilt *all have ocstrrcd, thc Bank may
       in rdditbn !o all o&cr    ri$ts
                                    rnd rurcdic grantcd to it in thb Socu.ity Agrccaur end in any orhcr
       insinm or lgEcud lGq[iq8. cridcnciag or rclaring to ttE Obtigibos, ercrcisc rll rights end
       rtorcdics of r scored party unda lhc LrcC ad all othcr dghts avaitable to rhc Bank 11 taw or in
       equity.

                         Sctllm 52. Elranntr       o
                                                  Colhftrel. Wirholrt timirLrg Orc righrs of rhe Bank rmdcr
       uy ohcr     provision of tlu Saurity AgrGGrEil, if an Everrt of Dcfauh shall occur ana bc contimring:

                               (0 dl plprcm rcceirtd by the Borromr under or in
               codlcction wilh aoy of tlp Collelcllrl sbdt bc hctd by thc Borrowcr in trust for rlre
               Bd, shrtl besqcgrEd frm dhcr fuo& of thc Bonocrer.rd shEI forrhwirh
               upon rrctipt by thc Bormru be nnocd (nlcr to th. Banlq in thc saur fonn as
               rcccivcd by rhc Bormw (doly indoncd by rhc Bormwa ro the Bank. if reqrircd
              to   pcroit collcaim     rkof   by ttrc Brnt); alrd

                                 (i0 all arcb prynurts rcceived by rhc Bank (whalrcr from thc
              Borrow*     o otkvbc) nay,    in rtc sotc discrraion of rhe Brnk, L heH by thc
              Buk rs cdltnl lcority for, and/or thco or rr rny rimc rhcrcafrcr appt# in
              wbolo or io p.fi by dD B.nt to tlrc pymau of thc expcrscs and obligations as scr
              forrh in Scction 5.10.

                             5.3. Pocrdm of Cdhtemt. tn funhcramc of the forcgoing. rhe Borrorrcr
                       Sccrior
      crprcrsly agrccs thx, if rnEtru of Dcfrult rbdl mcur and be corinring, the Bri& may (r) by
      Mkial poclcrs, or viilrnrtlrdhiet proecss if it cju bc done without brcJch of the pace. enler any
      Pfrr"* whcrc any of suc[ Colhiael b or may bc locatcd, and withogt chargc or iiability to thc i]ant
      ceia end rtnrow srch Coll*errl ftom such pnnriscs rnd (ii) harrc access !o .=,rd *" of thi Borrowcr,s
      booh ad rccords rcladng lo sch Collatcrrl.




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                       Sccllon   5.4.   Sale of   Colhferal.

                       (a)      Thc Borrower crgrcssly lgrces thot ifan Evenr of Defaulr slutl occur and be
      cottrinuing, ihc Bmlq without dcrnord of pcrformancc o,r o(hcr derurd or noticc of any kind (exccpt
      thc noticc spccified bdow of thc timc ard placc of aoy public or private sale) to the Bormrvcr or any
      oilpr Pcrson (rll of whictt dcnrar& rrd/or noticcs arc hercby waivcd by drc Borrower). nray forthwirh
      colloct, receive, rppropriatc ard rcalize upon the Collacral and/or forthwith scll, Ieasc. assign. givc rn
      qtion or Qtions to purchase or othcnvisc disposc of an<l delivcr rhc Colirteral (or contrad to do so)
      or any part drerof in onc or tttorc parccls ar public or private snlc, at any crchange, broker's board or
      at any officc ol thc Brnk or clscwherc in such manoer as is commercialty reasonablc arxl as the Bank
      may den bcst, for cash or on sedit or for future delivcry wittrout assumplion of any cre<lir risk. The
      Bank shell havc dlc right upon any suclr public salc, and, to the exrcnr pcmrined by tew, upon any
      $rch Privste satc, to purchsc tht whole or any part of the Collateral so sold. The Borrower further
      8gr€ts, al thc Bank's request, to assemble the Collaterat. and to make it available to lhe Bank at ptaces
      which tttc Bank may reasonably sclect. To thc ertent pernrittcd by appticable larv, the Borrower
      Ysives all cleims, damagcs ard demands against the Bank arising out of rlte foreclosure, repossession.
      retenlion or sale of the Collatcral.

                       (b)       Unless the Collateral threatcrs to declioe spccdily in value or is of a typc
       custornarily sold in a rccognizcd markct, lhc Bank shall giw thc Borrower tcn days written noticc of
       iB intcilioo to m*e any such public or private sale or sale at a broker's board or on a securitics
      exchangc. $rch noricc shall (i) in thc crse of a prblic selc. stare thc time ard place fixcd for such salc.
      (ii) ia thc cue of a srlc at a broter's board or on a securities exchangc, state rhe boand or exchange ar
      whiclt such sdc b to bc made ad thc day on whictr the Collatcral, or any ponion thcreof bcing sold,
      will first bc offercd br sale and (iii) in rbe casc of a privare sale, srare rie day after which such sale
      mey bc consunmatcd. Thc Bank shall rpt be rquired or oblitated to make any such sate pursuant to
      any such noticc. Thc Bank mry adjourn eny public or private sale or causc thc ssrnc to bc adjoumcd
      from time to timc by innounc€mem at the timc end place fixed for the sale, and such sale may bc made
      at any tirm or place to which thc sanr may be xr adjourncd. In fts ersg of any sale of all or any pan
      of thc Collrtcral for crcdit or for frrrurt delivery, the Collateral so sold may bc rctained by the Bank
      until hc sclling pricc is paid by thc prrchascr thcrcof, but rhc Bank shall rror incur any liabili.y in case
      of failurc of such prchucr ro pay for thc Collateral so sold ard, in the case of such failurc, such
      Collatcral mry again bc sold upoo likc notice.

                      Sedton 5.5. Rietts of hrdroscls. Upon any sale of the Collaterat (whcrher public
     or privalc), thc Battt shall havc frc right to dclivcr, rssign ard trarufer to rhc purchrscr therrof thc
     Collarenl so sold. Each purchascr (including the Bank) at any such sala shall hold thc Cotlateral so
     sold ftte from ary claim or right of whatarcr kiod, irr.luding any equity or right of redernption of thc
     Bormwer. rrd 6c Borrower, lo thc cxtent permittcd by hw, hereby spccifically waiyes all righrs of
     redatpion, irrMing, wi0rout limitation, thc right to rcdelm the Cotlatcral under Section 9-5(X of rhe
     UCC, ild acy rigttt to a judicial or other stay or approval which it has or may have under any law
     now eristing or hereaflcr rdooted.

                      Sc.tla 5.6. Additiornl Rletrls of the Barrk.

                      (a)     Thc Ba{k shsll have lhc right ard powcr to institute and nrainrain such suits
     and prcceodings as   it may deemappropriatc to Fre(ed and enforce the righE vested in it by this
     Sccurity A$ootrtcil ard may procccd by suit or suits at law or in equiry ro enfor@ such rights and io
     foreclose upon ard sell the Collateral or any part thereoFpursuant to rhejudgment or decree ofa coun
     of com6tcot jurisdiction.

                      O)      The Bant shall, to the extenr prmirted by law and withour regard ro rhe
     solycocy or imolrrcncy at the timc of any Person then liable for thc payment of any of the Obligations
     or thc thclr valuc ofthe Collatcral, erd withour requiring any hond from any pany to such
     proccedings, bc emitled to the appointmcnt of a spccial rcceiver or reccivers (who may be the Bank)
     for thc Collatcral or any part lhcrcofsrd for thc rcots, issrcs, tolls, profirs, royalties. revcnues and
     olher incorne thcrefrom, which rcceiver shall have such powcrs as the coun making sucft appointment
     shall conhr, and to lhe cntry ofan ordcr directing that the rcnts, issucs,'tolts, profils, royaltias,
     rarrcnues ard ofra irrone of thc propcry con$iilting the whole or rny pad of the Collateral be
     scgreSatcd, sequcatercd ad impouttdcd for the beneffu ofthe Bank, and the Bormwcr irrevocabiy
     cotrents to dre appoinlo.nt ofsuch recciycr or ro:eivers &d to the entry ofsuctr order.



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                              Sccffou      5.7. Rrooflcr Not Bdudvc.

                              (r)       No ramdy @nftrrcd uporr or rcscrvd lo the            Bao&.   in this Socurity AgreerEot
       is irlcndd to bc cxclusivc of ary uher rdy or rtrEdics. bur cvery srrlr rcmedy shall bc
       trrrill.tivr aDd ihrll bc in rdditioo to cacry dfur rcmcdy con&rrcd hcrcin or my or hcreaftcr erislirg
       at law. in equity or by stanltc.

                             (b)
                              If thc Benk shall havc procccded to cnforce rny right, remdy or power under
      this Sccurity Agrcarcm 8rd thc procecdirg fur rhc cnforcarrru tlcreof shall havc bccn discontinucd
      or rb{dotrcd fur any rcason or shrll havc bcca dctsminod adverscly to thc Bank. rlrc Bormwer ard
      ttlc Brnk shrll, sub!:a m eny dacrnrinrtkur in srdr proe.dirg, scverally and rcspectivcly be rcsorcd
      to thcir formcr        pcitiors rod rigl6 undcr tlf6 Sccurity Ag(ccrrcil,             td   frcrcafter all righs. rerncdies
      and iDxrqrs of drc B.ok sh.ll            coruinr rs thouglr    o    suclr procccdings hed bccn rrkcn.

                       (c) All righ6 of rctim u&r thb Sccurity Agrcfircnt nuy bc anforced by rhc
      B.nk without thc pccssion of rny insrrunrcnt odthrning any Obligation or thc prodrrction lhqneof at
      aoy trid or othcr procccttirg rclativc tlErGfo. rnd rny suil or procecding irBtitutcd by ttc Baok shall bc
      brorght in itr ortrle rnd eoy judgncnt shrll bc held ,s part o[ the Collateral.


                             Sccdm5f, WJrndEdomd.
                             (r)
                          Ttc Bono*rr. to thc cf,r!il ir mey lrwfully do so, agrtcs that it pill noE at any
      tirr   in   uy mau stercvar
                                cleim or rrka rhc bc[ctit or advutegc of eny appr;eiscrnanr, vrlurtion,
      $ry. cAaosbo, mrdo{ium, aroovcf or r€dctrptioo law. or any hw ros or hcrca{ter in forc.c
      pcradring      fu   to dirEcr   &!   ondcr in which thc   Collurel shall    bc sold   whhh rney dehy, pruvcnt or
      o*rcrrirc rffur fu pctfruuaocc or cofDrctmsl of this Smrriry Agrcarrrt ard the Borrowcr hcrcty
      univts ihc bocfits or rdvrmgc of dl src.b hun, rnd covcaarils rhrt it will not hird.r, dclay or
      inpdc 6rc ercortirn of ly poocr grued to 6c Benk in this Sccurity Agrecurnt hrt will prmil lhc
      exeantion of ancr5r rrch povcr rs tfio6h m srh lev wcrc in forcc; oroviH that rodring corfeincd in
      lbh Scclioo 5.t shdl bc corrtsncd as r wrircr of rny rights of thc Borroscr urdcr rny rpplir:ablc
      fedaal hnktptcy law.

                     (b) Thc Borroser, to thc G$rot it nuy tawfully do so, on bcrulf of iudf ard all
      wto mry dlim ftrq4h or undcr il, irEhtdi4 withou limit tion any ard rll subsoqucat creditors,
      v"dccsr rsrignccs rod licnors. waivcs rod rclctcs rx rights to demrd or !o luvc rny marshalliog of
      ttc Collrtcnl Wor rny salc, uilrc$cr mrdc udcr any porrr of srte gru*ed hmcin or punsranr to
     juaUat proetqs c Won lr8, forcclorurc or rry cnforcwrt of thir Sccurity Agrccrncnt ard
      oonscDts     md rgrocs that dl thc Collatcal m.y.l aily sncfi srlc be offerd ad sold                  as   rn cntirery.

                      (c) ftc Borrorcr, !o thc crtctt it may lewfully do so, waivcs preeorner[.
      danurl, proed.td ury npti* of gry kird (cxccfl noticcs oglicitly rcquired hereundcr) io mnrrcction
      with ttie S€qnity Agrccecst rnd ury rctioa trtar by rhe Bank with repocr ro fte Colltteral.

                             PactdAilctcfi. ltc Borrowcr hcrcby irrcrccebly consdues ed
                            Sccdo 5.9.
                   vilt tdl pwcr of ubcriatiolr, .3 irs tnE urd lewfirl uorney-irfacr wilh tull
     appoias th3 B.olq
     irrcvublc pom and autrfy in thc placc ud stcad of thc Borrowcr and in thc mnrc of ttrc
     Bottowcr or in its ofii oasr, frqn tirrp to lirDc in the Bant's reasonrblc discraion for thc ptrpcc of
     cerryfug ort drc tc(G of this Scarity Agrcarcu, to tatc any rnd all rppropriate action ard ro decute
     any rd all doormcnts ad insrrumers whict mry bc neoessery or desimble to rcomfrlish thc
     purp66 of this Sccurity Agrcancd ud, without limiting thc gcrEr.lity of ttrc forcgoing. trcreby gives
     0E BtnL the po*er ed riglt, on btlulf of the Borrowcr, without rntice !o or .ssent by tlc Borrower
     lo do tb fullowing:

                                      G)        to pay or dis.ft rgg larcs, licrE, scarrity intercsrs or otlEr
                  cncurSilEca lcv&d or phccd on or rhrcrtcncd agairst thc Collatcral:

                                      Gt)       to c{fcct eny   rtpeitt or any iruururce callcd for by the
              tcrus of ttir Scodty Agrecrm* rnd to pay all or any pafi of the prcmiums
              tfurcfor artd the ccE thercof; ard



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                                  (iiD lpoortc@rserrcaldcorimare ofmy Eva of
                  Defarh rod  ottc*irc o rb Grtcd Fovidcd in tli! Seariry AgEGrEil, (A) lo
                  dir.ct .ny pdt!, li$b br rry pryr'pt r& euy of thc Colt{cral ro n tc
                prrrE      of   rry   d   dl mcyr   er rad to mm dtc thcrtrrrdcr directly ro rhc
                Brnk or :r      tb But    drdl dird; (B) !o rccclvc pr5;aux of rnd reeipr for any and
                dl mocyr, al.im    td &rmruts duc rd to bosE drc j enlr timc in
                  rcrpca of rrisiag out of rry Coll*nl; (C) to sign rd indcsc any invoicts,
                              c
                frcigf c crqrc$ bills, bilk of Ldint. rtor.tc or wuctnuc recciprs, drefts
                agrht ddror, sfrrrura, ycrificrions errl mtiors in conncctim with accounrs
                rrr ods &cumlr ddq                 to   tE Oolt cnl;   (D) m   cqrme ld    prosccurc
                .ny suitr. rctim or prococdiqs rt hw or in cguity in euy eoun of cornpetcnt
                jurMictilo to olloct thc Colletcnl or roy therof and to eaforce any orher right
                in rcspcct ofuy Cothacrrl; (B to dcfcnd rny suit, artbn or procccding brnught
                 rgairst thc Borm*tr with Espcct to atly Collucral; (D to scnb, conrpromise and
                 adjrxt my suit, aaio or pmcccditg dcsctibd fuvc ard, in cormion
                 thcrEryilh, ao tivt srh di$h.rg* or rdcasc ls thc Bmk rmy dcanr 4proprirrc;
                 (G) to..lip ry hac or Tredcmert (dorg with rhc goodrrill of rhc buincss to
                 which qr.h Tr&urtpcddr), fur erch tcrm or tcnru, on such coditiorc. and
                 in n!$ mrdEr, !s thc BrakS.ll in ia scilc diserelio[ drtcrmine: ad (H)
                gcncrally o scll, trasfu, plodgc, mrte erry €rccimnt wirh trspcct o or
                ottprwisc deal wifh aoy of tic Colhgel as firlly and onplaely as thangh rhc
                Bank urcrc tlr .buolutc ow lhcrtof fsr dl pnpccr, ard to do, rr thc Bant'g
                opliotr id thc Borrorrcr's crpGcr .t.sy time, or ftrom timc to timc, all acts ard
                ddngs whidr lhc Brnk dcans t!ce$rr!, b prctcd, preEryc or realia upon ttrc
                ColtlEral ud thc Brnt's &onfty itrtcrcsr thcreh, in ordcr to cffcct thc iricrlt of
                this Sorfty AgrGffiit, dt r fully rrd cficctivcly re thc Borwrr migtr do.

                         Thc    Borrcw hcr6y       ilifici dl thal said anoroc)'s dnll lawfully do or causc to bc
     donc   E   vinuc   tulof. Ttir       por=r of rcorney b a powcr couplcd with an idercst and shall he
      irrcrroc$h.

        .                Secfo 5.f0.       Apqfu@d-hgh.        Thc Brnt dull rcbin thc net procccds of arry
     collccrbn Ecovcry,           rcipt, qpq&uiul'
                                                rcrlizrtion or sale of thc Collatcnl ,rd, lfur deduting rll
     rcecoublc costs aod aryaucs of crnry kfud iodrrrcd thctcin or iridcrr.l m thc cerc rrd seftkeeping
     of rly c dl of tlu Colletcnl or ia ury way d.tin3 to thc rights of tftc Bent trrturdcr. incMiry
     rctc@$lc rltorocrs' fccs rod hgrl crp6cs, rply oclr net procceds to thc payrrcru in whole or in
     prt of tbc Obligadmc iu stc.h ordcrrc &c Brnt mey clcct, thc Bormwr raraining lieble for any
     amurt rtureiniqg uprid (d rtry afiorncp fccs prid by thc Ba* in collccting such dcficiancy) atcr
     ad4plicrtion. OotylftcrrpplyingerchdprocccdrrndrftcrdrcprynmrbythcBentofany
     &r am             req!fud by ray pwkin dhv, imluding Sccdoo $50{tXc) of thr UCC, neGd thc
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     re.

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     spcificd for tb ptpm of cmtcandOior hcmrna by notkc !o Oc aha pertics lsanrder. Eech
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     Scction 6.   l.
                       Sc.dr 6.?- No Wdrrrr. llo frilurc on thc prrt of the Bel* to qcrcisc. ,D coursc
     of dcalfug wilft rcspcdb. rnd m dclry ia cxcrciring my rigtrt. porer or privitqc urdcr thh Scorrity
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                      stalt any sittglc or portid cxcccbc of euy      mtr righ,    pourcr or   privilqe preclude any orher or funhcr


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                      payable by thc Bant ro aoy of its a&e, sfEtha on accouu of fccs, irdernnirics o. orL*io)
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                      tcrminatioa of thir Scatdty AgrE rErt or        qt
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                      conscd or waivtr lsardcr or lhcrautdcr or (ii) imrrrEd in corurction witi thc administratiron oi rhis
                      Scarity AgrEc@. or ary doanuant or rgroelrrr[ corucnrplatcd hcrcby, or in conruisr with rhc
                      adminislratim, sak or dcr dispoaition of Coltetcral lpraudcr or undcr any doctmenr or agrsEmcot
                      corctryl*cd   My     or thc prcscrruioa protcctior or dcftrsc of the rigtus of thc Brnk in and ro tha
                      Collrrual.

                                      Sedon 6.4.       Iffion.               The Borrorcr slull at dl tirrus hereafrer indcmnifi.
                     hold hrrnless aaA oa dcmand. rcimhrce            tb   Banlq its subsirtiarics. affiliacs. srcoess(rnr.   assrsns.
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                     officec,dircctors.employtcsanda8ar*s.a'rltlcirrcspcctivchdrs,erccurors.adrninisr.torq-                                   I g b'E' Y * E g    g
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Offering Circular Supplement
(To tlultifamily Base Offering Circular dated October 1,20111




                  $829,795,263

Government National Mortgage Association

                               GINNIE MAE@
         Guaranteed REMIC Pass-Through Securities and MX Securities
                      Ginnie Mae REMIC Trust 2012-129




Barclays Capital lnc.
                                                                      Loop Capital
                                                Loop Capital Markets, LLC
            The date of this Offering Circular Supplement is November 20,2012.
The document is not available on the SEC web site. Following this section would normally be
the "Assignment of Mortgage" type section of the Prospectus Supplement; but this security
has no such verbiage. Furthermore, there is no pooling and servicing agreement (PSA) that is
publically available. Thus, extracts of the "Conveyance of Loans" type section (normally Sec-
tion 2.01) from any such PSA is not available.

       http://www.ginniemae.gov/doinglbusiness-with ginniemae/investor_resourceslProspectuse
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  Conduit loan servicing: Who's who and what's what?
  The thing most borrowers fail to realize about conduit loans is that once a loan has been
  securitized, they are not working with a "lender" anymore. The loans are pooled into a
  securitization called a Real Estate Moftgage Investment Conduit (REMIC). The REMIC is a
  trust and it has no lenders, only fiduciaries of the "certificate holders." Once the loans
  have been pooled and securitized, the players are as follows:

  Master Seruicer - The Master Servicer collects payments, escrows, reserves and financial
  information on behalf of the REMIC Trustee. The Master Servicer visits each asset (at its
  expense) every year for large loans, every other year for small loans. As of Aprrl2Ol2,
  Wells Fargo is the largest Master Seryicer in the country with over $500 billion in master
  and prime servicing. The second largest is PNC Real Estate/Midland Loan Services.
  Master Servicers are rated and evaluated by the rating agencies. If a loan becomes
  delinquent, the Master Servicer is usually obligated to make the first three or four
  payments to the certificate holders as well as pay trust expenses on delinquent assets.
  This way, if a borrower is late or misses a payment, but makes it up quickly, the
  certificate holders have had no disruption in payments. The Master Servicer is reimbursed
  when the borrower makes up the payment or when the property goes into foreclosure and
  is later sold. Because the certificate holders are relying on the Master Servicer to make
  these payments, the creditworthiness of the Master Servicer is a key to the selection
  process.

  Special Servicer - The Special Servicer is the party designated to "work-out" loans or
  foreclose on loans if they go into default. The Special Servicer may agree to modification,
  waiver or amendment of any term, extend maturity, defer or forgive interest or
  prepayment charges and permit the release or substitution of collateral, borrower or
  guarantor as long as it is "in the best interest of the ceftificate holders." If a loan is in
  default for more than two payments (60 days) or defaults at maturity, it is assigned to the
  Special Servicer who takes over direct discussions with the borrower. The Special Servicer
  can also get involved if it gets notice of "imminent" default. The Special Servicer makes
  all final decisions about dispositions of defaulted property and Real Estate Owned (REO).
  Often they are also the holders of the "first loss pieces" of the pool. Because they are
  taking the most risk, as part of their agreement to take that risk, they usually insist on
  being the Special Servicer as a requirement of their investment. There are only a handful
  of special servicers in the country.


                                                                                       Together we'll go far


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     If the Special Servicer is willing to extend the loan, they have to get permission from
     the Controlling Class Representative (CCR), who is a fiduciary for all the certificate
     holders. The CCR was designated when the REMIC was created and the PSA was
     signed. The largest class of ceftificate holders is always the AAA rated tranche who
     aren't likely to lose any money if the deal gets foreclosed and sold at a discount
     because they have first lien on the proceeds. Without permission from the CCR, the
     Special Servicer could be liable if they made any decisions that did not protect all
     classes. This is one reason why Special Servicers may be reluctant to extend a loan.

     tvlsst ArM holders are anxious to get their investment back as soon as possible. Most
     PSAs give the Special Servicers the right to extend loans up to a maximum of three
     years, but a typical extension is usually 60 days to six months.

3. A loan matures with no replacement lender, and the propefi is wofth IngXg
   than the current debt. Assume that a loan has matured and the property is worth
     more than the debt. Remember, there are no "peckets of money" to use for refinance.
     Special Servicers, although legally allowed by the PSA to forgive any portion of the
     debt, rarely do so because often that would negatively affect one or more of the
     bondholderc at the expense of the others. Instead, the Special Servicer, on behalf of
     the conduit, will almost always foreclose and sell the asset.

     All of the aforementioned parties are "fiduciaries" for the pool; that is, they are
     required to act in the best interest of all the investment classes of certificate holders.

     In this economic environment it is critical to understand your specific loan terms, and
     any default risks they may pose, so you can plan accordingly. The "friendly banker"
     you knew five years ago may not be the pafty you will be dealing with tomorrow.


Tony Petosa, Nick Bertino, and Creighton Weber specializ* infinancing mantSactttred home communities
("MHC), offering  Fannie Mae, conduit, porfolio, and correspondent lending programs.


Petosa and Bertino can              be reaehed      at 76o/+98-ztig; Z6o/+58-SZtofac; and uia email,
tpetose @wellsfarg o.com. nick. bertino @ w e llsfargo.com ; and,
Weber csn       be   readrcd at z+8/Zz7-Sttg; z<8/ZzS-StSSfax; and uia email, cweber@wellsforgo.cont




Conduit loan seruicing: Wlp's who andwhat's what?
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Shows the splitting of the investment trust into 27 separate investment classes




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  Banclays                                                                                            Loop Capital Markets                                  ttc
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  BEVERLY A YOUNG
  1905 E 172ND ST
  SOUTH HOLLAND IL 60473.3727




CONFIRMATION OF LOAN PAYOFF

RE: Client                    936
Loan Number                   043 I 567163


Mortgagor(s)                  Beverly'A Young                                      FHA Sec/Casc    Number          703   I   137-671221

Properr-y"   Address          1905 E 172nd Street
                              South t{olland U- 60473


Congratulations! We are pleased to inform you that $€ have processed the funds ncccssary to pay your loan in full. We are
providing the following information to address any questions you may have and lo let you knorv rvhat to expecl through the loan
paloff process.

If you arc changing addresses. please call us immediately at (800) 222-0238. It is r.erv importanl that u'g 6ar,e
                                                                                                                  }our correct mailing
address in order to send documents. year€nd tax information and any,'refunds rvhich ma.v be due.

If vou are retaining orvnership of this propen]*, -vou arc obligated to pay future tax and,/or insurance premiums unless a ne$, escrow
account is established. Listed on the second page are the name, address and phone numhr of each taxing authorig.and insurance
company 1,ou will need Lo contact for billing information.

we will noti$' the U.S. Department of Housirrg and Urban Dcvelopmenr (HUD) of thc payoffof your loan. If you are entitled to a
refund from HUD for ),our mortgagc insurance. thev u'ill automatically send
                                                                            1ou an application in 90 ro 120 davs. you mav contact
HUD at l-800-697-6967 or online at r\1\N.hud.gor.'/offices/hsg/comp/refundVfhafact.cfin-

We u'ill mail loan satisfaction documcnts to you or !'our Qountv recordcr, according to state guidelines. In order to record
                                                                                                                                 the pa;-off
of this loan rvith vour county. funds previousl-v- rcccived may not be rejected/returncd b1,- the institution upon u'hich they arc drau,'.

Wells Fargo Home Mortgagc is committed to release the liens on the loans it sen iccs that are accurately paid in full rvithin
                                                                                                                              the
appropriate statutory frameuork. At the end of the year, we $ ill also mail you an annual tax and interest statemcnt for IRS reporting
purposes.

If vou have any questions about 1'our loan payofl our sen icc rcpresentalives can hclp                    can be reached at (800) 222423g,
                                                                                       1'ou.    The.v--
Mon - Fri 6 am to l0 pm or Saturday 8 am - 2 pm Central Standard Time.

We are pleased to have been of servicc to y'ou and u'ould rvelcome thc opportunig to provide future financing solutions. y.ou
                                                                                                                        If    are
interested in learning about producls and scn,ices offered by Wells Fargo, plcasc yisii us at *yr,.wellsfarqo.iom.

Wells Fargo Homc Mortgage




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           Case: 1:18-cv-03945 Document #: 1 Filed: 06/06/18 Page 79 of 91 PageID #:1
                Wells Fargo Onlinee

Ld Sip   On: Argrst 27, 2O1.{
Account Summary

Loan Accounts
Account                                                    Outstanding P.incipal Balance Related actiyities

 IORTGAGE Xn)C[X7I83                                                        PD IN F[.B-L

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           Case: 1:18-cv-03945 Document #: 1 Filed: 06/06/18 Page 80 of 91 PageID #:1

'Certified Mailing Receipt: 70142120 0001 1117 3494




October 12,2016


Mr. Christopher S. Laria
or Acting CEO/CFO
Anselmo Lindberg Oliver, LLC
l77l w. Diehl Road, Suite 120
Naperville, IL 60563 -4947

Re:        File Number F16090096FT      -   Wells Farso BanlG N.A.

Mr. Laria:

Thank you for your Correspondence regarding the above-referenced accounts for Wells Fargo
Bank, N.A.

I declare Myself competent. I am not        a Corporation or a Public Entity.

You, Anselmo Lindberg Oliver LLC and Christopher Laria must be a Third-Party Debt Collector
and I do not give you permission to interfere into My Commercial affairs or resale this debt. If
you are assuming that you ile representing me, you are Hereby Fired and your Power of
Attorney is Hereby Revoked.

As proof of claim, complete the attached "CREDITOR DISCLOSURE STATEMENT" and
retum within 30 days. Failure to respond with the completed *CREDITOR DISCLOSURE
STATEMENT", thereby providing your verified Proof of Claim, signed under the Penalties of
Perjrry and verified by your affidavit, you, Anselmo Lindberg Oliver LLC and Christopher Laria
are agreeing to your Commercial Dishonor, exhausting My Administrative Remedies. I will
accept your Silence as an Acceptance, and your agreement that a Default be entered against you.
You will also agree to a Full Tacit Contractual Agreement being a participant in Fraud and to
forfeit all remedies under Administrative Law, Judicial Law, and./or MARTIME CLAIM RULES
c   (6).

You should also be aware that sending unsubstantiated demands for payment through the United
     Mail System might constitute mail fraud under federal and state law.
States

At this time I will also inform you that if your offrces have reported invalidated information to
any of the three (3) major Credit Bureaus (Equifax, Experian or TransUnion) this action might
constitute fraud under both Federal and State Laws. Due to this fact, if any negative mark is
found on any of my credit reports by your company or the company that you represent, I will not
hesitate in bringing legal action against you for the following:

                  -   Violation of the Fair Credit Reporting Act;
                  -   Violation of the Fair Debt Collection Practice Act; and
                  -   Defamation of Character




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      Case: 1:18-cv-03945 Document #: 1 Filed: 06/06/18 Page 81 of 91 PageID #:1
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I am the secured party cre.ditor for the Beverly Ann Young en legis and Estate (see enclosed
UCC-I) and I have enclosed a W-8BEN and W-8IMY which I will forward to the Bureau of
Public Debt to let them know Anselmo Lindberg Oliver LLC (a debt collector) is withholding
from me. I have mailed this information to the IRS with a 3949[to let them know Codilis and
the other defendants are not operating in proper trust law and have stolen tnrst funds so they can
trace the money trail.

I will also be filing a Complaint with the Federal Court and Anselmo Lindberg Oliver    LLC will
be added as a Defendant as soon as you are substituted as counsel.

                                      AU Rights Reserved Without Preiudice
                                      :beverly-ann jones-young

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 Enclosures

 cc: Legal Department
       Case: 1:18-cv-03945 Document #: 1 Filed: 06/06/18 Page 82 of 91 PageID #:1
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 From: :beverly-ann jones-young
       c/o 1905 E.l72"d Street
       South Hollan4 Illinois 1604731

 Anselmo Lindberg Oliver LLC I Christopher Laris or acting CEO/CFO


 Checklist of enclosed package in certified mailing receipt # 7014 2120 0001   1ll7   3494

    1.   Freedom of Information Request for Interrogatories 30 Day Notice Cover Letter
         for Wells Fargo BankN.A. (1 page);

    2.   Freedom of Information Interrogatories Deposition and Discovery of Alleged
         Debt Collectors/Creditors Disclosure Statement for Wells Fargo BankN.A. (4 pages).




 Third Party Witness of the above mailing checklist package               PrinUSignName




 cc: lrgal Deparfinent
                   Case: 1:18-cv-03945 Document #: 1 Filed: 06/06/18 Page 83 of 91 PageID #:1
                   Freedom of Information Request for Interrogatories Deposition and Discovery of Alleged Debt
                                           Collectors/C reditors Disclosu re Statement
                                                                     Made to
                                      Name of Financial      Institution: Anselmo Lindberg Oliver LLC
                                                 To: Christopher S. Laria or Acting CEO/CFO

 NOTE:                           at acts under
                                        Stat 13-15
                                                     Fraudulent and or illesal transactions

The purpose of this Freedom of Information request is for the Director(s) of this Financial Institution who are under oath and obligation to
United States Laws and statute to provide a copy of the original contracts ceftirying that they are the holders of the instmment of question
in regards to alleged File numbers F16090096FT under CUSP Number (?) and to provide an Affidavit Certifuing their Affirmation that
they follow all applicable Federal, State, and contract law in carrying out the alleged contract of note File numbers F16090096FT to
satisry the requester that this Financial entity is operating within the bounds of the law that the Financial entity is subject to and that they
have a legitimate claim as a Creditor.

Specifically the Law includes the National Bank Act also known as The National Currency Act, The Consumer Credit Protection Act, The
Fair Debt Collections Practices Act, The Fair Credit Reporting Act, Truth and Lending Act and any and all applicable to Financial
Institutions whether they be federal, state, or contractual (commercial) laws.

I am officially requesting the following:
     1) You produce my original signature in respect to the alleged contract and state for the record who the alleged original creditor was
         based on the preceding law;
    2) Provide an Affidavit Certifoing that you did not breach any federal state contractual commercial or official oath in carrying out
         the alleged contract and associated transactions; and
    3) Certifo that you did not unlawfully without my consent use my signature to gain assets from a third party then claim you loaned
         me money and that you did not commit any action that would preclude that you used my identity in a fraudulent or illegal
         manner yourself or in collusion with a third party or additional parties.
You are bond by law to provide this information upon a request pursuant to FOIA USC 5 section 552 and the Fair Debt Collections
Practices Act along with the aforementioned laws.

Enclosed is a list of questions that Christopher S. Laria or acting CEO/CFO must answer.         All questions must be answered within 30 days
from time of receipt under penalty and perjury,        if   not answered you will be held in default. Please answer all of the attached
interrogatories.

Please forward the requested information to:

: beverly-ann :jones-young

cio 1905 E.l72"d Street
South Holland, Illinois 1604731

Name of Agent Authorizing Transaction:

Title of Agent:

Date:

Bureau/Agency of the Department

If Needed: Reason based on Internal Policy and or Laws and Statutes for Rejection of Request




*** lf you are willing   to settle this matter with complete removal of this alleged debt please respond with the appropriate offer"""

Signature of Agent:

         County                                                               State

Sworn and Subscribed before me                                         this           day   of                             [year]
                     Case: 1:18-cv-03945 Document #: 1 Filed: 06/06/18 Page 84 of 91 PageID #:1



                                INTERROGATORIES Depositions for Disclosure & Discovery
                            ALLEGED DEBT COLLECTOR'CREDITOR DISCLOSURE STATEMENT
                                             Re "Offer of Performance"

          This statement and lhe answers contained hereia may be used by the Issuer & Maker,         if necessary, in any court of
                                                      compelent iurbdiction
                            Respondent's Interrogatories/Depositions for Alleged Creditor
      Notice: This Debt Collector/Creditor Disclosure Statement is not a substitute for, nor the equivalent of, the hereinabove-
      requested verification ofthe record, i.e."Confirmation of correctness, tntth, or authenticity, by afrdavit, oath, or
      deposition',@SixthEdition,l990),rethealIegeddeb!andmustbecompletedinaccordancewith
      the United States Statutes at Large including the National Bank Act also known as the national Currency Act Public Law
      Volume 13 386 Congress Stat 99-l l8 as well as 9l Stat880 the Actual Law of the primae facie code of the Fair Debt
      Collection Practices Act,15 USC $ 16929 and the Freedom of lnformation Act 5 USCA $ 552, applicable portions of Truth
      in Lending (Regulation Z), 12 CFF.226 Coraact Disclosure and UCC l-308, and demands as cited above in Offer of
      Performance. Debt Collector/Creditor must make all required disclosures clearly and conspicuously in writing re the
      following:
l.    NAME OF ALLEGED DEBT COLLECTOR/CREDITOR:

)     Address of Debt Collector/Creditor:

3.    Correct Lawful Name of Living Being, alleged Debtor/Obligor:
4.    Are you required to register with the United States DeparEnent of Treasury as a financial Institution?
5.    Please provide the Documents that certiff that you are a financial institution registered with the federal government through
      the United States Deparment of Treasury.
6.    Have you exchanged the alleged note for bonds &om the United States Treasury? If yes please provide exchange notes
      certifi cations and other infonmation.
7.    Have you oathed yourself to follow the laws governing Banks which are The National Bank Act Statutes at large Public
      Laws of United States Congress Published at Volume l3 38e Congress Stat99-118?
8.    Please provide a certified copy of your oath.
9.    Have you ever violated the above Laws in any manner?
10.   Are you aware that if you violate anypart of The National Currency Act Statutes at large Public Laws of United States
      Congress Published at Volume l3 38ttr Congress Stat99-118 that your financial institution can be shutdown
ll.   Please provide a list ofall ofthe directors ofyour financial institution pursuant to the Freedom oflnforrnation
      Act.........
12.   Alleged Account Number:
      ########...
13.   Alleged debt owed: $
      $####...

14.   Date alleged debt became payable:

15.   What is the name and address of the alleged Original Creditor who actually provided funds to the alleged Debtor/Obligor,       if
      different from alleged Debt Collector/Creditor?


16.   If Debt Collector/Creditor is different from alleged Original Creditor, does Debt Collector/Creditor have a bona fide
      affidavit of assignment the signahre of the alleged Debtor/Obligor   as an assignment for entering into alleged original
      contract between alleged Original Creditor and alleged Debtor/Obligor?
           YES       NO
t7.   Are you the holder of the Original note/contract?
18.   Are you the holder in due course ofthe Original Note and or Contract and if so please provide &ont and back copies of the
      original contract and or note
19.   If applicable, give the date of purchase of this alleged account from alleged Original Creditor, purchase amount, and a copy
      of the original transaction,
                                                            ,
                  Case: 1:18-cv-03945 Document #: 1 Filed: 06/06/18 Page 85 of 91 PageID #:1



      Date:                                                                                  Amount:
                       $

      Date:
                       $
20. Regarding this alleged accomt, Debt Collector/Creditor is currently the:

      (a)   Owner; (b) Assignee; (c) Other-explain:




        Has the alleged Debt Collector/Creditor provided alleged Debtor/Obligor with the requisite verification of the alleged
      debt as required by the Fair  Debt       Collection Practices Acf? YES NO
22.   Date said verification cited above in #23 was provided alleged Debtor/Obligor with official copy and certification that it
      was sent to alleged Debtor/Obligor:
23.   Does Debt Collector/Creditor receive Letter of Credit Financing from a major financial institution to run its operational
      budget?
24.   Please Provide the 1096 and 1098 Tax Retums for this account.
      25. Please Provide the 1099 OID and the 1099 INT forms for this account.
      26. Are you [Alleged Creditor] the payor or the recipient on the 1099 OID forms?
      27. Have you [Alleged Creditor] ever received any benefit from a third party financial institution due to the alleged
          contract with the alleged obligor?
      28- Have you [Alleged Creditor] ever received stocks, bonds, securities or any other commercial items from any third party
          institutions in respect to the alleged contract with the obligor?
      29- Are their any stocks, bonds, or securities attached to the contract between you [Alleged Creditor] and the alleged
            obligor?
      30. If the answer to the former question is yes eould you please provide     the CUSIP number for the said financial
            instrument?
      31.   Please provide certified copies of the N-8A registration filed pursuant to section 8A of the Investment Company Act of
            1940, the l0 K annual report, the S-3 registration statement and the S4 prospectives filed pursuant to Rule 425 (b) 5
            with the Securities and Exchange Commission under section 13 & 15 (d) of the Securities and Exchange Act of 1934 in
            reference to this account and any certificated or uncertificated stocks, bonds, securities, or other financial instruments
            associated with this account.
      32. Was alleged Debtor/Obligor provided with a loan by Debt CollectoriCreditor? YES NO
      33. If the alleged Debtor/Obligor was provided with a loan does the Debt Collector/Creditor have proof that assets were
            provided from the financial institution to the alleged obligor- Please provide certified copies, front and back of all
            documentary proof.

      34. At the time the alleged original conmct     was executed, were all parties apprised of the meaning of the terms and
            conditions of said alleged original contract and was full disclosure of the nature of the contract provided to the alleged
            obligor? YES NO
      35. At    the time the alleged original contract was executed, were all parties advised of the importance of consulting a
            licensed Legal professional before executing the alleged contract? YES NO
      36. At  the time the alleged original contract was execute4 were all parties apprised that said alleged contract was a pi'ivate
           credit Instrument? YES NO
      Debt Collector/Creditor's failure, both intentional and otherwise, in completing/answering points "l" through "58" above
      and retuming this Debt Collector/Creditor Disclosure Statement, as well as providing Maker with the requisite verification
      validating the hereinabove-referenced alleged debt, constitutes Debt Collector/Creditor's tacit agreement that Debt
      Collector/Creditor has no verifiable, lawful, bona fide claim re the hereinabove-referenced alleged account, and that Debt
      Collector/Creditor tacitly agrees that Debt Collector/Creditor waives all claims against Maker and indemnifies and holds
      Maker harmless against any and all costs and fees heretofore and hereafter incurred and related re any and all collection
      attempts involving the hereinabove----referenced alleged account.
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Declaration: The Undersigned hereby declares under penalty of perjury of the laws of this State that the statements made in
this Debt Co[ector/Creditor Disclosure Statement are tnre and correct in accordance with the Undersiped's best firsthand
knowledge and belief.



Date          Printed name of Signatory


Official Title of Signatory                                     Authorized Signature for Debt Collector/Creditor
Debt Collector/Creditor must timely complete and retum this Debt Collector/Creditor Disclosure Statement, along with all
required documents referenced in said Debt Collector/Creditor Disclosure Statemenl Debt Collector/Creditor's claim will
not be considered if any portion of this Debt Collector/Creditor Disclosure Statement is not completed and timef returned
with all required docurnents, which specifically includes the requisite v*ification, made in accordance with law and
codified tnthe Fair Debt Collection Practices Act at 15 USC $ 1692, Freedom of Information Act 5 USCA $ 552 et seq.,
and which states in relevant parl: "A debt Colleaor/Creditor may not use anyfalse, deceptive, or misleading rqresentation
or mearu in connectionwith the collection of ary debt," which includes *thefalse represenlation of the character, or legal
stans of any debt," ando'the threat to takc uqt action that cannot legally be takeL" all of which are violadcns of law.

If Debt Collector/Creditor does not respond as required by law, Debt Collector/Creditor's claim will not be considered and
Debt Collector/Creditor may be liable for damages for any continued collection efforts, as well as any ofter injury sustained
by Maker of this Document. Please allow thirly (30) days for processing after Respondents receipts of Debt
Collector/Creditor's response.
           Case: 1:18-cv-03945 Document #: 1 Filed: 06/06/18 Page 87 of 91 PageID #:1

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                                                                         Date: 0?182014 09:29 AM Pg: 1 of 1
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licns, aod noy rights duc or to beomc due thereon.' Said Mortgage for $t?7rt.00 is recorded in the State of [- , County of Cook
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                                                          Ccrtilicd Forc'nsic Lorn Auditors



                                ASSIGITTMENT OF MORTGAGE # L - Recorded Februarv 18. 2014

Sterhanie Thercse Tau&es signs forMutgage Eleceonic Regisnration Systm, Inc., as Assi$ffi Secretary
withMdisdoanc of rylqme,ot This is an indic*ion +hat idrs. Tr&es afi€rnptd to assign the Mortgage
todbnt Wells Fargo with@t an Assignor. This position of unilateral transf€r is fidm.mgthened by the
&ct'futdcre is no srrifu of uifidproof of fonds; a note endosernent; a bill of sale; a declaratim of
value; or transfo taes as bving brcn p&id to Cook County, Washingtm "For Cood and Valuable
Considemtion".

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                       ASSIGITTMENT OF MORTGAGE # 1 - Recorded Februrv 18. 2014

StcoLrlb Thercre Trntqc       signs for Mortgage Electnonic Regisration Systerns, Inc., as Assistmt Secr€tary
without disclosure of employment This is an indication fiat IUrs. Tautsg attemprted to assign the Mortgage
to client Wells Fargo without an A*signor. This-position of unilaferal transfer is firlher stnengthened by &e
fact that he're is no evidence of verified proof oFfunds; a note endorse,menq a bill of sale; a declaration of
value; or Eansfer ta:res as having bee'n paid                          to Cook County, Washinlton Tor Good and Valuable
Consideration".

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                                                  Certified Forencic Loan Auditors




Stephanie Therese Tautges is shown to be e Vice President Loan                            Oo",r-"ot"tion for Wells
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